     Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 1 of 79 Page ID #:1

                                                                             ~"1L~D
 i Nathalie Dubois
 2   13428 Maxella Ave. Suite 274                                                      ~~ 9~
                                                                      2020 .SUN
     Marina Del Rey, CA 90292
 3   Tel. 310-482-9111                      P~'D                  ~     ~~~ri t~~ ~. t3►ST~t~'r `'~ ~
                                                                        ~ ~!~r;~MS    ~E~AL~~~
                                                                                      r^
 4
     Plaintiff In Pro Se                   ~, ; ~     2a~Q
 5
                                              US Oistrlct ~
 6                                            ~niiRT 4512

 7
                                  UNITED STATES DISTRICT COURT
 8                  CENTRAL DISTRICT OF CALIFORNIA WESTERN DIVISION
 9
                                                                                                        PSX
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11
         VIPUR LLC, ANNA SHOYK~~ET,
        .BRIELLE SHOYKHET,
                                                        l
12                                                            DEFENDANT NATHALIE DUBOIS,
                        Plaintiffs,                           INDIVIDUALLY AND DOING BUSINESS
13                                                            AS DUBOIS PELIN ASSOCIATES GROUP
14                                                            NOTICE OF REMOVAL TO FEDERAL
                                                              COURT; DECLARATION OF NATHALIE
15   I~TATHALIE DUBOIS, DUBOIS PELIN                          DUBOIS
      ASSOCIATES GROUP, and DOES 1 through
16'.
     10,                                                      Trial Date: None Set
17                 Defendants.

18 NOTICE OF REMOVAL OF CIVIL ACTION TO PLAINTIFF, HER ATTORNEYS
19   OF RECORD, AND THE CLERK OF THE UNITED STATES DISTRICT COURT
20 FOR THE CENTRAL DISTRICT OF CALIFORNIA:
21   PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant
22 Nathalie Dubois, individually and doing business as Dubois Pelin Associates Group
23   ("Dubois") hereby removes this action from the Superior Court of California, County of Los
24   Angeles, to the United States District Court for the Central District of California, Western
25   Division. This Court has original subject matter jurisdiction over Plaintiffs' lawsuit under 28
26, U.S.C. § 1332(a), because complete diversity of citizenship exists between Plaintiff and
27'' Defendant, i.e., Plaintiffs are citizens of a different state than Defendant, and the amount in
28
                                                              1
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 1   controversy for Plaintiffs exceeds $75,000.00. In support of this Notice of Removal, Defendant
 2   states as follows:
 3                                                   I.
 4                                          INTRODUCTION

 5    1. This is a breach of contract action against Dubois and her sole proprietorship business
 6   fictitiously named Dubois Pelin Associates Group in connection with access to sell Plaintiffs'
 7   wares to film celebrities at the Intercontinental Carlton Hotel in Cannes, France during the
 8   Cannes Film Festival in May 2019.
 9 2. On October 28, 2019, Plaintiffs filed their Complaint, entitled Cavi Pur LLC, Anna
10   Shoykhet, Gabrielle Shoykhet, Plaintiffs, vs. Nathalie Dubois, Dubois Pelin Associates Group,
11   and Does 1 through 10. Defendants, filed in the Superior Court of California, County of Los
12   Angeles, Case No. 19SMCV01898.(Summons, Complaint, Civil Case Cover Sheet, Notice of
13   Case Assignment and Notice of Case Management Conference attached as Exhibit"A"to
14   Notice of Removal.)
15   3. On December 6, 2019, Dubois filed her Demurrer and Motion to Strike.(Demurrer attached
16   as E~ibit"B"to Notice of Removal and Motion to Strike attached as E~ibit"C"to Notice of
17   Removal.)
18   4. On Apri12, 2020,the Court issued a Minute Order re Court Closures.(Minute Order and
19   Certificate of Mailing attached as E~ibit"D"to Notice of Removal.)
20   5. On April 16, 2020, the Court issued a Minute Order re Case Management Conference.
21   (Minute Order and Certificate of Mailing attached as E~ibit"E"to Notice of Removal.)
22 6. On April 17, 2020, Plaintiffs filed their Case Management Statement and Proof of Service
23   thereof.(Plaintiffs' Case Management Statement and Proof of Service attached as E~chibit "F"
24   to Notice of Removal.)
25   7. On June 1, 2020, Plaintiffs filed their First Amended Complaint.(First Amended Complaint
26   attached as E~ibit"G"to Notice of Removal.)
27   8. On June 2, 2020, Plaintiffs filed a Proof of Service (not Summons and Complaint).
28 (Plaintiffs' Proof of Service attached as Ea~hibit"H"to Notice of Removal.)
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 1   9. Plaintiffs assert the following claims against Dubois:(1)Breach of Contract;(2)
 2   Conversion,(3)Unfair Business Practices,(4) Assault,(5)Fraud and Deceit; and Intentional
 3   and Negligent Infliction of Emotional Distress.(Complaint at pp. 1-1 l.) Plaintiffs seek general,
 4   special, consequential, incidental, exemplary, treble and punitive damages, as well as
 5   attorneys' fees, prejudgment interest and restitution. (First Amended Complaint at p. 11.)
6     10. Dubois was served the First Amended Complaint on June 1, 2020.(Declaration of Nathalie
 7   Dubois("Dubois Decl.) at ¶ 8.)
 8    11. To Dubois' knowledge,the pleadings attached as Exhibits"A"through "H" constitute all
 9   process, pleadings, and orders filed in the state court action. See 28 U.S.C. §1446(a).
10    12. This Notice ofRemoval is timely filed within 30 days after service of the First Amended
11   Complaint. See 28 U.S.C. § 1446(b)(2)(b).
12                                                    II.

13                           JURISDICTIONAL BASIS FOR REMOVAL

14   A. Diversity of Citizenship
15    13. Defendant Dubois, at all relevant times is and was an individual resident ofthe County of
16   Los Angeles, State of California. Dubois does business under the name of Dubois Pelin
17   Associates Group which is a sole proprietorship and not a separate business entity from herself
18   as a individual.(Dubois Decl. at ¶ 2.)
19    14. Plaintiff Anna Shoykhet is citizen and resident of New York.(First Amended Complaint at
20 ¶ 1.)
21    15. Plaintiff Gabrielle Shoykhet is citizen and resident of New York.(First Amended
22   Complaint at ¶ 2.)
23    16. Plaintiff Cavi Pur LLC("Cavi") is alleged by Plaintiffs as a limited liability company
24 registered to do business in Florida.(First Amended Complaint ¶3.)
25    17. Cavi is actually a Florida limited liability company with it principal place of business at
26    16699 Collins Ave #2506, Sunny Isles Beach, FL 33160.(Dubois Decl. ¶ 4, E~ibit l.)
27    18. The stated Manager and Authorized Person for Cavi is Caviar Wellness LLC ("Caviar").
28 (Dubois Decl. ~ 5.)
     Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 4 of 79 Page ID #:4




 1    19. Caviar is a Florida limited liability company with it principal place of business at 16699
 2    Collins Ave #2506, Sunny Isles Beach,FL 33160.(Dubois Decl. ¶ 6, E~ibit 2.)E~ibit 2 lists
 3   Plaintiffs Anna Shoykhet and Gabrielle Shoykhet as the Managers and Authorized Persons for
 4    Caviar with addresses of 16699 Collins Ave #2506, Sunny Isles Beach, FL 33160.(Dubois
 5   Decl. ¶7, E~ibit 2.)
6    20. Dubois is a citizen of California. A natural person's state citizenship is determined by his
 7   or her state of domicile. Kanter v. Warner-Lambert Co., 265 F.3d 853, 857(9th
 8   Cir. 2001)."A person's domicile is her permanent home, where she resides with the intention
 9 to remain or to which she intends to return." Id. at 857. It is presumed a natural person's
10 residence is also his or her domicile, and a party resisting this presumption bears the burden of
11   producing contrary evidence. Ayala v. Cox Auto, No. CV 16-06341-GHK(ASx),2016 U.S.
12   Dist. LEXIS 153617, *10(C.D. Cal. Nov. 4, 2016)(citing State Farm Mut. Auto. Ins. Co. v.
13 Dyer, 19 F.3d 514, 520(10th Cir. 1994); Lew v. Moss,797 F.2d 747, 751 (9th Cir. 1986)). The
14   First Amended Complaint alleges Dubois is an individual residing in Marina Del Rey,
15   California.(First Amended Complaint ¶ 4; Dubois Decl. ¶ 3.)
16   21. Defendant Dubois is a citizen of California, and Plaintiffs are citizens of New York and
17   Florida. Thus, complete diversity exists as required under 28 U.S.C. § 1332(a).
18   B. Amount in Controversy
19   22. The amount in controversy requirement of28 U.S.C. § 1332 is also satisfied. Pursuant to
20   28 U.S.C. § 1332(a), the amount in controversy in a case where federal jurisdiction is
21   predicated upon diversity of citizenship jurisdiction must exceed $75,000, exclusive of interest
22   and costs.
23   23. A defendant need only establish by a preponderance of the evidence that the plaintiffls
24   claims exceed the jurisdictional minimum. See Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117
25 (9th Cir. 2004). In determining whether the jurisdictional minimum is met, the Court should
26   consider all recoverable damages, including compensatory damages, punitive damages, and
27   attorneys' fees. See Simmons v. PCR Tech, 209 F. Supp. 2d 1029, 1031 (N.D. Cal. 2002).
28
     Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 5 of 79 Page ID #:5




 1   24. The amount in controversy may be satisfied based on the allegations in the complaint.
 2 Singer v. State Farm Mut. Auto Ins. Co., 116 F.3d 373, 377(9th Cir. 1997)(a defendant may
 3   use the allegations in the complaint to establish the amount in controversy); Conrad Assocs. v.
 4   Hartford Accident & Indem. Co., 994 F. Supp. 1196, 1198(N.D. Cal. 1998).
 5   25. Plaintiffs' "Prayer For Relief' prays for judgment in the amount of"no less than
 6 $100,000."(First Amended Complaint, p. 11.)
 7   26."[T]he amount in controversy is determined by the complaint operative at the time of
 8   removal and encompasses all relief a court may grant on that complaint ifthe plaintiff is
 9   victorious." Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 414-415 (9th Cir. 2018).
10 27. This is a contract-tort action in which Plaintiffs seek general, special, consequential,
11   incidental, exemplary, treble and punitive damages, as well as attorneys' fees, prejudgment
12   interest and restitution.(First Amended Complaint at p. 1 l.)
13   28. Plaintiff Anna Shoykhet also seeks emotional distress damages as part ofthe prayer for
14   general damages.(See First Amended Complaint ¶ 82.) While Plaintiff does not state a specific
15   dollar amount of damages she seeks for emotional distress, the Court can properly include
16 these damages when determining whether the amount in controversy has been met. See
17 Richmond v. Allstate Ins. Co., 897 F. Supp. 447,450(S.D. Cal. 1995). Emotional distress
18   damages can be substantial. See, e.g., Raphael Vasquez v. Los Angeles County Metropolitan
19    Transportation Authority, Case No. BC484335, Los Angeles Superior Court, Nov. 12, 2012
20 (jury verdict awarding $1,250,000 for emotional distress in single plaintiff wrongful
21   termination and disability discrimination case); Campbell v. National Passenger Railroad
22    Corp., 2009 WL 692094,(N.D. Cal., Mar. 3,2009)(awarding $120,000 in noneconomic
23   damages in single plaintiff wrongful termination/retaliation case). Plaintiff's claim for
24   emotional distress damages further supports the amount in controversy requirement being met.
25   29. Plaintiffs are also seeks punitive damages, which are included in determining the
26   amount in controversy in a civil action. See Gibson v. Chrysler Corp., 261 F.3d 927,945 (9th
27   Cir. 2001). Punitive damages here would only further increase the amount in controversy
28   above the $75,000 threshold Plaintiff.
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 1   30. Attorneys' fees should also be considered part ofthe amount in controversy and would
 2 further increase this sum well above the $75,000.00 threshold. The Ninth Circuit has affirmed
 3   numerous six-figure attorney fee awards in FEHA cases. See, e.g., Muniz v. UPS,738 F.3d
 4   214, 225(9th Cir. 2013)(awarding $696,162.78 in attorneys' fees); Mangold v. California
 5 Pub. Utils. Comm'n,67 F.3d 1470, 1473, 1480(9th Cir. 1995)(awarding $724,380 in
 6   attorneys' fees); Fair Hous. v. Combs, 285 F.3d 899,902(9th Cir. 2002)(awarding
 7 $508,606.78 in attorneys' fees). Accordingly, the amount in controversy requirement is
 8 ~, satisfied.
 9                                                  III.

10                      PROCEDURAL REQUIREMENTS FOR REMOVAL
11   31. This Notice of Removal is timely filed within 30 days after the date ofthe first receipt by
12 Defendant of the First Amended Complaint setting forth the claims for relief upon which this
13   action is based. See 28 U.S.C. § 1446(b); Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc.,
141 526 U.S. 344, 354(1999)(thirty-day time period under removal statute begins to run from the
151 date offormal service). Plaintiff served Dubois on June 1, 2020 by email and mailing ofthe
16   First Amended Complaint.
17 32. Since all Defendants request removal by this Notice ofRemoval, no other party's consent
18~ to this removal is required. See 28 U.S.C. § 1446(b)(2)(A).
19 33. The Superior Court of California, County of Los Angeles, is located within the
20 territorial jurisdiction of the United States District Court for the Central District of California.
21 ~ See 28 U.S.C. § 84.
22 34. Venue is proper in this Court because it is the "district and division embracing the place
23   where such action is pending." 28 U.S.C. § 1441(a).
24 35. Pursuant to 28 U.S.C. § 1446(d), a copy ofthis Notice of Removal is being served
25   upon Plaintiff and a copy is being filed with the Clerk ofthe Superior Court of California,
26   County of Los Angeles.
27
28
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 1   36. If any question arises as to the propriety ofthe removal of this action, Defendant requests
2 the opportunity to conduct "limited"jurisdictional discovery, brief any disputed issues and to
3    present oral argument in support of Dubois' position that this case is properly removable.
4    37. Nothing in this Notice of Removal shall be interpreted as a waiver or relinquishment of
5    Dubois' right to assert any defense or affirmative matter including, without limitation, the
6    defenses of(1)lack ofjurisdiction over a person;(2)improper venue;(3)
7    insufficiency of process;(4)insufficiency of service of process;(5)failure to state a claim; or
8 (6)any other procedural or substantive defense available under state or federal law.
9    WHEREFORE,Dubois respectfully removes this action from the Superior Court of
10   California, County of Los Angeles,to this Court, pursuant to 28 U.S.C. §§ 1332, 1441, and
11 II 1446.
12   Dated: June 24, 2020
13
                             1
14               ~~IJ ~~~
                        l
15 Nathalie Dubois
   Defendant Pro Se individually and doing business
16
   as Dubois Pelin Associates Group
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     Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 8 of 79 Page ID #:8




 1                             DECLARATION OF NATHALIE DUBOIS
 2
 3   I, NATHAI.,IE DUBOIS,DECLARE:
4     1.     I am over the age of eighteen. I have personal knowledge of the matters stated in this
 5    declaration, and if called to testify, I could do so competently.
6    2.      Plaintiffs have sued me as an individual Defendant. Plaintiffs have also named Dubois
 7   Pelin Associates Group("DPAG")as a defendant. For all relevant times mentioned in
 8   Plaintiffs' Complaint and First Amended Complaint, DPAG is a fictitious business name
9     which is not a separate business entity from myself.
10    3.     For all relevant times mentioned in Plaintiffs' Complaint and First Amended Complaint
11   and at the time of filing this Notice ofRemoval,I was and am currently a citizen of the State of
12    California, residing in the County of Los Angeles, City of Marina del Rey as my permanent
13    home and with the intention to remain.
14   4.      I went to the website ofthe Florida Secretary of State and after researching the name of
15   Cavi Pur, LLC,found that Cavi Pur, LLC is a Florida limited liability company with its
16   principal place of business at 16699 Collins Ave #2506, Sunny Isles Beach,FL 33160.
17 (Attached as E~ibit 1 is a copy ofthe 2019 Florida Limited Liability Company Annual Report
18   filed by Cavi Pur, LLC.)
19   5.      The stated Manager and Authorized Person for Cavi Pur, LLC is Caviar Wellness, LLC.
20 (See attached Exhibit 1.)
21   6.      Caviar Wellness,LLC is a Florida limited liability company with it principal place of
22   business at 16699 Collins Ave #2506, Sunny Isles Beach,FL 33160.(Attached as E~ibit 2 is
23   a copy of the 2019 Florida Limited Liability Company Annual Report filed by Caviar
24    Wellness, LLC.)
25   7.      Eachibit 2 lists Plaintiffs Anna Shoykhet and Gabrielle Shoykhet as the Managers and
26   Authorized Persons for Caviar with addresses of 16699 Collins Ave #2506, Sunny Isles Beach,
27 FL 33160.
28
     Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 9 of 79 Page ID #:9




 1   8.     I was served with Plaintiffs' First Amended Complaint on June 1, 2020, by email from
 2 Plaintiffs' attorneys who attached a copy ofthe First Amended Complaint to the email.
 3   I declare under the penalty of perjury under the laws ofthe United States of America that
 4   matters stated in this declaration are true and correct.
 5   Executed this 24~' day of June 2020 at Manna del Rey, California.
6
~                                 ~~

 g   Nathalie Dubois, d clarant
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  Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 10 of 79 Page ID #:10




1 PROOF OF SERVICE
2
  STATE OF CALIFORNIA,COUNTY OF LOS ANGELES
3
4 I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
  not a party to the within action. My business address is 13428 Maxella Ave. Suite 274
5 Marina Del Rey, CA 90292

 6 On June 24,2020,I served true copies of the foregoing documents) described as:
 ~ DEFENDANT NATHALIE DUBOIS,INDIVIDUALLY AND DOING BUSINESS AS
   DUBOIS PELIN ASSOCIATES GROUP NOTICE OF REMOVAL TO FEDERAL COURT;
 g DECLARATION OF NATHALIE DUBOIS
 9 on the interested parties in this action by placing a true and correct copy of the document
   thereof enclosed in sealed envelopes addressed as follows:
10
   Natalia Mazina, Esq.                         Attorneys for Plaintiffs Cavi Pur LLC, Anna
11 Amanpreet Kaur, Esq.                         Shoykhet, Gabrielle Shoykhet
12 MAZJNA LAW
   10866 Wilshire Blvd., 4th Floor
13 Los Angeles, CA 90024
14   ~BY AIL)I deposited such envelope in the mail at Los Angeles, California. The envelope
15   was mailed with postage thereon fully prepaid.

16 I declare under the penalty of perjury under the laws ofthe State of California that the
1 ~ foregoing is true and correct.

1g   Executed this 24~' day of June 2020 at Marina del Rey, CA.
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21   A   ubacar Sissok
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Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 11 of 79 Page ID #:11




                        EXHIBIT A
                                                                         oil
               Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 12 of 79 Page ID #:12
Electronically FILED by Superior Court of California, County of Los Angeles on 10131/2~5Uz~n~~erri R. Carter, Executive Officer/Clerk of Court, by D. Fowler,Deputy Clerk




                                                       SUMMONS                                                                   I           FOR COURT USE ONLY
                                                                                                                                         (SOLO PARR USO DE LA COR7E)
                                                (CITACION JUDICIAL)
      NOTICE TO DEFENDANT:
      (AV/SO AL DEMANDADO):
      NATHALIE DUBOIS, DUBOIS PELIN ASSOCIATES GROUP,and DOES 1 through 10


      YOU ARE BEING SUED BY PLAINTIFF:
      (LO ESTA DEMANDANDO EL DEMANDANTE):

        CAVI PUR LLC, ANNA SHOYKHET, GABRIELLE SHOYKHET
                                                      may decide against you without your being heard unless you
         below.
            You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
         served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
         case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
         Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you pnnot pay the filing fee, ask the
         court Gerk for a fee waiver form. If you do not file your response on time, you may lose the case by defauR, and your wages, money, and property may
         be taken without further warning from the court.
            There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
         referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
         these nonprofd groups at the Calrfornia Legal Services Web site (www.Iawhelpcalifomia.org), the California Courts Online Self-Help Center
        (www.courtinfo.ca.gov/selthelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
         costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
         iAVISO!Lo han demandado. Si no responde dentro de 30 dias, la cote puede decidir en su contra sin escuchar su version. Lea la information a
         continuacibn.
            Tiene 30 DIAS DE CALENDARIO despu~s de que le entreguen esta citacibn y papeles legates pare presenter una respuesta por escrito en esta
         torte y hacer que se entregue una copia al demandante. Una carte o una Ilamada telefdnica no to protegen. Su respuesta por escrito tiene que ester
         en furmato legal co►recto si desea que procesen su caso en la cote. Es posible que haya un fom►ulario que usted pueda user pare su respuesta.
         Puede encontrar estos formularios de la torte y mas infom►acibn en el Centro de Ayuda de /as Cortes de California (www.sucorte.ca.gov), en la
         biblioteca de leyes de su condado o en la torte que le quede mks ce~a. Si no puede pager la cuota de presentacibn, pida a/ seaetario de la torte que
         le de un formulario de exencibn de pago de cuotas. Si no presents su respuesta a tiempo, puede perder e/ caso por incumplimiento y !a torte le podra
         guitar su sueldo, dinero y bienes sin mSs advertencia.
            Hay otros requisitos legates. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede 1lamar a un servicio de
         remisibn a abogados. Si no puede pager a un abogado, es posible que cumpla con los requisitos pare obtener ~nricios legs/es gratuitos de un
         programs de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
         (www.lawhelpcal~fomia.org), en el Centro de Ayuda de /as Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la torte o el
         colegio de abogados locales. A VISO: Por ley, la torte Gene derecho a ~clamar las cuotas y los costos exentos por imponer un gravamen sobre
         cualquier recuperation de S10,000 b mks de valor reabida mediante un acuerdo o una concesidn de arbitraje en un caso de derecho civil Tiene que
         pager et gravamen de la torte antes de que fa torte pueda desechar el caso.
        The name and address of the court is:                                                                       CASE NUMBER: (Numero del Caso):
        (Et Hombre y direcci6n de la cote es): Santa Monica Courthouse                                                        19SM CV01898
                                                        1725 Main Street
                                                        Santa Monica, CA 90401
        The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (EI Hombre, la di~ccibn y el numero
        de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
        MAZINA LAW, 10866 Wilshire Blvd., 4th Floor, Los Angeles, CA 90024; 415-802-4057
        ~aTE: ~ ~~ ~2Q1g                                                              Clerk, by                                         ,Deputy
        (Fecha)                  Sherri R. Garter Executive OtTicerl Ciehc of CouR    (Secretario)                 Donita    Forr~ler   (Adjunto)
         (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
         (Para prueba de entrega de esta citation use el fom►ulario Proof of Service of Summons, (POS-010).)
                                          NOTICE TO THE PERSON SERVED: You are served
          (SEAL]
                                                  1.   as an individual defendant.
                                                       ~x
                   ~`~                /jf~        2. ~ as the person sued under the fictitious name of (specify):
                                         i.
              ►.                                  3.   0x    on behalf of (specify): DUBOIS PELIN ASSOCIATES GROUP
              Oc .                        ..,
                                                     under: ~ CCP 416.10 (corporation)                                    0 CCP 416.60 (minor)
                                 ~~
               r                                            0 CCP 416.20 (defunct corporation)                            0 CCP 416.70 (conservatee)
                ~                  ,~                                                                                     ~ CCP 416.90 (authorized person)
                ~j~/'          ;fit"                          CCP 416.40 (association or partnership)
                                                              other (specify):
                                                  4. ~ by personal delivery on (date)                                                                                   Page 1

        Form Adopted for Mandatory Use                                                                                                        Code of Civil Procedure §§ 412.20, 465
                                                                                   SUMMONS                                                                        www.couRs.ca.gov
        Judicial Council of California
        SUM-100 [Rev. July 1, 2009]
                                                                                                                                                                ~12
        Far your protection and privacy, please press the Clear
        Th1s Form button after you have prirrted the form.                     Print this form           Save this form                                 Ctear this form
          Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 13 of 79 Page ID #:13
                                          19SMCV01898
                                 Assigned for all purposes to: Santa Monica Courthouse, Judicial Officer: Craig Karlan




Electronically FILED by k uperior Court of California, County of Los Angeles on t0YL8/2019 05:37 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Bradley,Depury
                    1
                         NATALLIA MAZINA(SBN 271824)
                   2     AMANPREET KAUR (SBN 271782)
                         MAZINA LAW
                   3     10866 Wilshire Blvd., 4`h Floor
                         Los Angeles, CA 90024
                   4     Tel.: (818)945-9005
                   5     Fa~c: (415)358-8839

                   6     Attorneys for Plaintiff
                         CAVI PUR LLC, ANNA SHOYKHET,
                   7     GABRIELLE SHOYKHET

                   8                                  SUPERIOR COURT FOR THE STATE OF CALIFORNIA
                   9                               COUNTY OF LOS ANGELES,NORTH VALLEY DISTRICT
                 10
                 11
                         CAVI PUR LLC, ANNA SHOYKHET,                                              j Case No.:
                 12
                         GABRIELLE SHOYKHET,                    COMPLAINT FOR•
                 13                             Plaintiffs,                                       ~
                                                                    1) Breach of Contract
                                                                    2)  Conversion                )
                 14            vs.                                  3) Unfair Business Practices
                                                              ~     4) Assault
                 15       NATHALIE DUBOIS,DUBOIS PELIN              5) Fraud and Deceit
                          ASSOCIATES GROUP,and DOES 1 through ~
                 16       10,                                )
                                                                DEMAND FOR JURY TRIAL
                 17                             Defendants.  )
                                                                Action Filed: October ,2019
                 18                                           1 Trial Date: None set
                 19
                 20
                 21                  Plaintiffs Anna Shoykhet("Anna"), Gabrielle Shoykhet("Gabrielle") and Cavi Pur LLC
                 22 ("Cavi Pur")(collectively "Plaintiffs"), by and through their attorneys, based on their own
                 23       experience and investigation and the independent investigation of counsel and information and
                 24       belief, allege against Defendants Nathalie Dubois("Nathalie")and Dubois Pelin Associates
                 25       Group("DPA Group")(collectively "Defendants") as follows:
                 26                                                 NATURE OF ACTION
                 27                  This is a civil action for breach of contract, conversion, breach of contract, assault, and

                 28      unfair business practices under California's Consumers Legal Remedies Act("CLRA")and



                                                                                  COMPLAINT FOR DAMAGES
                                                                                                                                                               013
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        fraud arising out of Defendants' treatment of Plaintiffs in connection to Defendants' two "gifting
    1
    2   suite" sponsorship events. During the first suite — at the Cannes Film Festival —Plaintiffs Anna

    3   and Gabrielle were physically threatened and verbally insulted in public by Defendants and on
    4   behalf of Defendants. Defendants further failed to deliver on many ofthe obligations included in
    5
        their agreement with Plaintiffs for the first suite, including fraudulently inducing Plaintiffs into
    6
        the agreement as a condition oftaking part in the second "gifting suite" during the ESPY
    7
        Awards. Defendants knew Plaintiffs' interest was limited to the second gifting suite at the ESPY
    8
        Awards and conditioned their participation in the ESPY Awards Suite on their participation in
    9
   10   the Cannes Film Festival Suite, forcing Plaintiffs to pay for both suites all at once and far in

   11   advance. Defendants never intended to deliver the second gifting suite.
   12
                                                      THE PARTIES
   13
                1.     Plaintiff Anna is a citizen and resident of Brooklyn, New York.
   14
               2.      Plaintiff Gabrielle is a citizen and resident of Brooklyn, New York.
   15
               3.      Plaintiff Cavi Pur is a limited liability company registered to do business in
   16
        Florida.
   17
               4.      Upon information and belief, Defendant Nathalie is an individual residing in
   18
        Marina Del Rey, California. Shortly before the commencement ofthe acts alleged herein,
   19
        Plaintiff was instructed to reach Defendant Nathalie at an address in Marina Del Rey.
   20
               5.      Upon information and belief, Defendant DPA Group is an unregistered entity
   21
        doing business in California and abroad.
   22
               6.      The true names and capacities ofthe defendants sued herein as DOES 1 through
   23
        10, inclusive, either individual, corporate, limited liability company ar partnership, are unknown
   24
        to Plaintiffs at this time, and Plaintiffs therefore sue said defendants by such fictitious names and
   25
        will seek leave of court to amend this complaint in order to show the true names and capacities
   26
        of said defendants when the same have been ascertained. Plaintiffs are informed and believe, and
   27
        based thereon allege, that each ofthe defendants designated herein as a DOE are responsible in
   28



                                              COMPLAINT FOR DAMAGES
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    1   some manner for the events and happenings herein referred to and which proximately caused the
    2   damages as hereinafter alleged.
    3                                     JURISDICTION AND VENUE

    4          7.      Jurisdiction over Defendants is proper under California Code of Civil Procedure

    5   Sec. 410.10.
    6          8.      The harms and obligations alleged herein were incurred and occurred in Los

    7   Angeles County.
    8          9.      Jurisdiction is premised upon the fact that the damages suffered by Plaintiffs are

    9   in excess of the minimum sum required for jurisdiction in the Superior Court ofthe State of
   10   California.
   11           10.    This Court has general jurisdiction over Nathalie because she lives and/or

   12   conducts business in California by contracting to supply services here, and has thus purposefully
   13   availed herself ofthe jurisdiction ofthis Court.
   14           1 1.   This Court has general jurisdiction over DPA Group because it conducts business

   15   in California by contracting to supply services here, and has thus purposefully availed itself of
   16   the jurisdiction ofthis Court.
   17           12.    Venue and jurisdiction are further proper in this county as Defendants asked
   18   Plaintiffs to deliver the products at issue in this case to an address in Marina Del Rey.
   19                                     FACTUAL BACKGROUND

   20           13.    Plaintiffs Anna and Gabrielle are a mother and daughter team behind the Cavi Pur

   21   venture, a small business creating nutrient rich supplement powder.
   22           14.    Upon information and belief, Defendant Nathalie is the founder and executive of
   23   DPA Group.
   24           15.    Upon information and belief, DPA Group's exclusive business is to sell brand

   25   representatives access to "gifting suites" where the representatives can expect to meet well-
   26   known A-list celebrities that may be seen promoting their products.
   27           16.    Upon information and belief, these gifting suites are associated with awards
   28   ceremonies around which celebrities congregate.



                                             COMPLAINT FOR DAMAGES
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    1           17.    In late April, 2019 Plaintiffs purchased the "platinum package" from Defendants
    2   which entitled them access to two gifting suites for a total cost of$12,000. $4,000 for the giftingi
    3   suite associated with the ESPY Award ceremony, and $8,000 for the suite associated with the
    4   Cannes Film Festival.
    5          18.     The Cannes Film Festival gifting suite ("Cannes Suite") was to be held at the
    6   Intercontinental Carlton Hotel in Cannes, France from May 15 to 23,2019.
    7          19.     The Excellence in Sports Performance Yearly Award gifting suite("ESPY Si
    8   was to be held at the Lw~ce Hotel in Los Angeles from July 15 to 16, 2019.
    9          20.     Plaintiffs intended to participate only in the ESPY Suite due to the nature of Cavi

   10   Pur's supplement, which focuses on increasing endurance and fast recovery after physical
   11   activities. In order to participate in the ESPY Suite, Defendants required Plaintiffs to purchase
   12   both the Cannes and ESPY Suites as a bundle. Not being offered a choice in the matter, Plaintiffs
   13   purchased both gifting suites.
   14          21.     As part of the platinum package, Defendants agreed to deliver, among other

   15   things, the following:
   16                      a. Access to A-list celebrities to whom Plaintiffs would be allowed to
   17                            Cavi Pur branded products during each gifting suite;
   18                      b. Professional PR staff members who would be responsible for escorting

   19                            celebrities to Cavi Pur's table during each gifting suite;

   20                      c. Professional photographers to capture Plaintiffs' table, products, and

   21                            impressions with celebrities at each gifting suite. Those professional

   22                            photographs would then be transferred to Plaintiffs in the form of CDs or
   23                            web links within a day after the end of each gifting suite;

   24                      d. Mentions of Cavi Pur in Defendants' pre and post press releases and in its
   25                            various social media.

   26          22.     In preparation for the Cannes Suite, Plaintiffs purchased airline tickets, hotel
   27   accommodations, proper attire and transportation; printed and prepared marketing materials; and
   28   pulled 375 bottles oftheir product from inventory to give away at the suite.



                                               COMPLAINT FOR DAMAGES
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    1          23.     During the Cannes Suite, Defendants failed to provide A-list celebrities,

    2   professional staff, or professional photographs.

    3          24.     With the exception of two,the multi-day Cannes Suite offered "celebrities" that

    4   were, at best, actors who had small roles in television episodes and, at worst, Nathalie's friends

    5   and associates all of whom expected free samples from Plaintiffs.

    6          25.     Making things worse, on May 21,2019(in the middle ofthe multi-day Cannes

    7   Suite), Nathalie became enraged toward Anna for no apparent reason except Nathalie disliked

    8   the fact that Anna was sharing a bottle of wine with Nathalie's associate or client, Jesse Hino,

    9   outside of the gifting suite toward the end ofthe day in order to celebrate Jesse associate's

   10   birthday.

   11          26.     As recorded in a police report of the incident, Nathalie was recorded describing

   12   Anna using highly offensive racial terms, including "disgusting Jew" and "disrespectful Jewish

   13
   14          27.     Nathalie physically pushed Anna back as Anna tried to enter into the suite where

   15   Gabrielle was attending to the Cavi Pur table.

   16          28.     Nathalie blocked Anna from entering the suite.

   17          29.     Plaintiffs did not violate any hotel or DPA Group rules, yet Nathalie had

   18   removed from the venue altogether by hotel security.

   19          30.     As is apparent from the police report, no one was drunk or drinking irresponsibly.

   20          31.     Anna was distraught by the incident and was taken to the hospital. The hospital

   21   report showed that Anna had no detectable level of alcohol in her blood and that she had an

   22   elevated heart rate and blood pressure suggesting a cardiac event.

   23          32.     Defendants seized Plaintiffs' remaining products(approx. 180 bottles ofthe

   24   supplement)from the Cannes Suite, which were later returned but some products were damaged

   25   and therefore became unsellable. Defendants failed to include Plaintiffs in any further press

   26   releases.

   27

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                                             COMPLAINT FOR DAMAGES
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    1            33.   Despite this treatment, Plaintiffs intended to continue with the ESPY Suite, which

    2   was more important to Plaintiffs due to the nature oftheir product. However, Defendants never

    3   responded to Plaintiffs' inquiries about the ESPY Suite.

    4            34.   Plaintiffs later learned that Defendants never intended to participate in the ESPY

    5   Suite as it was not listed on Defendants website. In fact, Defendants initially provided Plaintiffs

    6   with the wrong dates for the ESPY Suite and had no intent to participate in the ESPY Suite.

    7            35.   Defendants retained the $4,000 for the EPSY Suite and failed to issue a refund as

    8   requested by Plaintiffs.

    9                                COUNT I: BREACH OF CONTRACT

   10                                     (As Against A[l Defendants)

   11

   12            36.   Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

   13   through 34 as if fully set forth herein.

   14            37.   On or around Apri122, 2019, Plaintiff Gabrielle entered into an agreement(oral

   15   and written) on behalf of Plaintiff Cavi Pur with Defendants, providing that Defendants would,

   16   among other things, provide Plaintiffs access to the Cannes Suite and the EPSY Suite for their

   17   full duration, and that the Suites would include A-list celebrities and professional staff.

   18            38.     Plaintiffs delivered $8,000 on Apri122, 2019 and $4,000 on May 2,2019 for a

   19   total ofthe agreed upon sum of$12,000 for the package.

   20            39.   Plaintiffs delivered the required two samples oftheir product to Defendant.

   21            40.   Plaintiffs performed all ofthe conditions, covenants, and promises required on

   22   their part to be performed in accordance with the terms and conditions of their agreement with

   23   Defendants.

   24            41.    Defendants failed and/or refused to perform their obligations in full accordance

   25 ~ with the agreement.

   26            42.    Defendants failed in their obligation to provide A-list celebrities at the Cannes

   27   Suite.

   28



                                              COMPLAINT FOR DAMAGES
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    1           43.     Defendants failed in their obligation to provide Plaintiffs access to the Cannes

    2   Suite in its final days.
    3          44.      Defendants failed in their obligation to furnish professional quality photographs
    4   from the Cannes Suite. Plaintiffs were forced to employ professional services to edit the poor
    5   quality photographs.
    6          45.      Defendants' failed in their obligation to include Plaintiffs in their social media or

    7   post event press releases.
    8           46.     Finally, Defendants failed in their obligation to provide Plaintiffs access to the

    9   EPSY Suite altogether.
   10           47.     As a direct and proximate result of Defendants' material breaches oftheir

   11   agreement, Plaintiffs have been damaged.
   12           WHERFORE,Plaintiffs pray for relief as set forth below.

   13                                      COUNT II: CONVERSION

   14                                     (As Against All Defendants)

   15
   16           48.     Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

   17   through 46 as if fully set forth herein.
   18           49.     On May 21, after Defendant Nathalie banned Plaintiffs from re-entering the

   19   Cannes Suite, Defendant wrongfully exercised control over all of Plaintiffs' remaining Cavi Pur
   20   branded product.
   21           50.     Plaintiffs brought 375 bottles oftheir supplements to the Cannes Suite to

   22   distribute to the A-list celebrities, who were promised to attend.
   23           51.     Upon information and belief, Plaintiffs were required to give away many ofthe

   24   bottles to people who were simply Defendants' acquaintances, certainly not celebrities.
   25           52.     Further, after Defendants disallowed Plaintiffs Anna and Gabrielle from re-

   26   entering the Cannes Suite, Defendants took possession of the remaining supplement bottles,
   27   totally approximately 180. Later, the product was returned to Plaintiffs but many bottles were
   28   damaged and therefore unsellable.



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    1          53.        Plaintiffs did not consent to either giving away their products to non-celebrities or

    ~i'~ to Defendants.
    3          54.        Plaintiffs have been harmed and Defendants' conduct was a substantial factor in
    4   causing Plaintiffs' harm.
    5   WHERFORE,Plaintiffs pray for relief as set forth below.
    6
    7    COUNT III: UNFAIR BUSINESS PRACTICES UNDER CALIFORNIA'S CONSUMER
    8                                         LEGAL REMEDIES ACT
    9                       (As Against Defendant DPA Group and Nathalie Dubois)
   10
   11          55.        Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1
   12   through 53 as if fully set forth herein.
   13          56.        Defendant DPA Group's above described acts of representing its gifting suites as
   14   having A-list celebrities and professional photographers and staff were and are unfair methods of
   15   competition and unfair or deceptive acts and practices in violation ofthe Consumer Legal
   16   Remedies Act, Civil Code Section 1750, et seq.("CLRA").
   17          57.        CLRA section 1770(a)(5) prohibits "representing that...services have sponsorship,
   18   approval, characteristics, ingredients, uses, benefits, or quantities which they do not have or that
   19   a person has a sponsorship, approval, status, affiliation, or connection which he or she does not
   20   have." Defendant violated this provision by making the misrepresentations described above,
   21   including but not limited to, having A-list celebrities present at its gifting suites and participation
   22   in ESPY Suite.
   23           58.       CLRA section 1770(a)(7) prohibits "representing that goods or services are of a
   24   particular standard, quality, or grade, or that goods are of a particular style or model, if they are
   25   ofanother." Defendant violated this provision by making the misrepresentations described
   26   above, including but not limited to, having A-list celebrities, professional PR staff, and
   27   professional photographers present at its gifting suites.
   28           59.       The violations ofthe CLRA have caused pecuniary loss to Plaintiffs.



                                                COMPLAINT FOR DAMAGES
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    1   WHERFORE,Plaintiffs pray for relief as set forth below.

    2                                        COUNT IV: ASSAULT

    3                              (As Against Defendant Nathalie Dubois)

    4

    5             60.   Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

    6   through 58 as if fully set forth herein.

    7             61.   On May 21, 2019, as Defendant was in the middle of her racial tirade, describing

    8   Anna as a "disgusting Jew," she physically blocked her from entering the door to the Cannes

    9   Suite.

   10             62.   Defendant acted, intending to cause hannful and offensive contact by physically

   11   pushing Plaintiff Anna to stop her from entering the Cannes Suite while shouting verbal insults

   12   at her.

   13             63.   Arena reasonably believed that she was about to be touched in a harmful and

   14   offensive manner as Defendant approached her to block her from entering the Cannes Suite.

   15             64.   Anna did not consent to Defendant physically blocking her in the manner she did

   16   while verbally insulting her.

   17             65.   Anna was harmed by Defendant's conduct and was taken to the hospital

   18   immediately following the incident.

   19             66.   Defendant's conduct was a substantial factor in causing Plaintiffs harm that lead

   20   to her hospital visit.

   21   WHERFORE,Plaintiffs pray for relief as set forth below.

   22                                   COUNT V: FRAUD AND DECEIT

   23                                     (As Against All Defendants)

   24             67.   Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

   25   through 67 as if fully set forth herein.

   26             68.   In order for Plaintiffs to participated in the ESPY Suite, Defendants —namely

   27   Nathalie Dubois —required that Plaintiffs pay for both the Cannes Suite and the ESPY Suite at
   28   the same time, and purchase them as a bundle.



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    1             69.     Defendants never intended to deliver the ESPY Suite.
    2             70.     When Defendants required Plaintiffs to purchase both suites at the same time,
    3      Defendants knew that they would not be able to deliver the ESPY Suite because no such event
    4      was scheduled for July 15-16, 2019, as described in the contract.
    5             71.     When Defendants required Plaintiffs to purchase both the Cannes Suite and ES]
    6      Suite as a bundle, Plaintiffs did not have any reasons to know —and did not know —that
    7      Defendants would fail to deliver the ESPY Suite. Therefore, Defendants made a promise that
    8      was important to the transaction and which induced Plaintiffs to enter into the contract with
    9 '~, Defendants, when Defendants never intended to perform on such promise.
   10             72.     As a direct and proximate result of Defendants' fraudulent conduct, Plaintiffs
   11      have been damaged by relying on Defendants' promise to deliver ESPY Suite, which was
   12      important to Plaintiffs' business.
   13             73.     In engaging in the conduct alleged herein, Defendants acted with oppression,
   14      fraud, and malice. As a result, Plaintiffs are entitled to exemplary damages.
   15             WHEREFORE,Plaintiffs pray for relief as set forth below.
   16                                           PRAYER FOR RELIEF

   17
   18      WHEREFORE,Plaintiffs pray for judgment as follows:
   19 '           A.      For general, special, consequential and incidental damages in such sums as may

   20      be sustained by proof and ascertained before judgment herein, but of not less than $100,000,
   21      according to proof;
   22 ',          B.      For exemplary, treble, and punitive damages in an amount to be determined by
   23      the court, but in no event less than One Million Dollars ($1,000,000).
   24             C.      For prejudgment interest on such monetary relief;

   25             D.      For cost of bringing this suit, including reasonable attorneys' fees; and

   26 '~          E.      For such other and further relief as the Court may deem just and proper.

   27
   28



                                                COMPLAINT FOR DAMAGES
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Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 23 of 79 Page ID #:23




    1   DATED: October 28,2019            MAZINA~LAW

    2
    3                                     ~VATALLIA MAZINA
                                          AMANPREET KAUR
    4                                     Attorneys for Plaintiffs
                                          ANNA SHOYKHET,GABRIELLE SHOYKHET
    5
                                          CAVI PUR LLC
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                                   COMPLAINT FOR DAMAGES
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Electronically FILED by Superior Court of California, County of Los Angeles on 10!28/2019 05:37 PM Sherri R. Carter, Executive Officer/Clerk of Court, by J. Bradley,Deputy Clerk
        Case 2:20-cv-05654-MWF-ADS Document   1 Filed
                                        i 9SnnCvois9s 06/25/20 Page 24 of 79 Page ID #:24
                                                                                       CM-010
   ATTORNEY OR PARTY WITHOUT ATTORNEY1Name, State Bar number, and address):
      NATALLIA MAZINA(SBN 271824)
      MAZINA LAW,10866 Wilshire Blvd.,4th Floor, Los Angeles,CA 90024                                                         Ta keep other ~Ple from
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   Cavi Pur LLC et al. v. Nathalie Dubois et al.
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    CIVIL CASE COVER SHEET                                             Complex Case Designation
  ~✓ Unlimited    0 Limited
                      (Amount                                    ~ Counter            ~ Joinder
     (Amount
                                                                                                                        BUDGE:
      demanded        demanded is                                Filed with first appearance by defendant
     exceeds $25,000) $25,000 or less)                               (Cal. Rules of Court, rule 3.402)                    DEPT:

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                                         !

 1. Check one box below for the case type that best describes this case:
    Auto Tort                                        Contract                          Provisionally Complex Civil Litigation
    0 Auto(22)                                       ~ Breach of contracUwarranty (06) (Cal. Rules of Court, rules 3.400-3.403)
          Uninsured motorist(46)                     ~ Rule 3.740 collections(09)      ~ Antitrust/Trade regulation (03)
    Other PI/PD/WD (Personal Injury/Property        0      Other collections (09)      0      Construction defect(10)
    Damage/Wrongful Death) Tort                     0 Insurance coverage(18)           0 Mass tort(40)
    0 Asbestos(04)                                  0 Other contract(37)               0 Securities litigation (28)
    0 Product liability (24)                         Real Property                     ~ EnvironmentallToxic tort(30)
    0 Medical malpractice (45)                       ~ Eminent domain/Inverse          ~ Insurance coverage claims arising from the
         Other PI/PDMID (23)                               condemnation (14)                  above listed provisionally complex case
                                                                                              types(41)
    Non-PUPD/VYD(Other)Tort                          ~ Wrongful eviction (33)
                                                           Sher real property(26)      Enforcement of Judgment
         Business tort/unfair business practice (07) ~
    0 Civil rights(08)                               Unlawful Detainer                 0 Enforcement ofjudgment(20)
    0 Defamation (13)                                        0 Commercial(31)                                  Miscellaneous Civil Complaint
    ~✓ Fraud (16)                                            ~ Residential (32)                                Q RICO (27)
    0 Intellectual property (19)                             0 Drugs(38)                                       ~ Other complaint(not specked above)(42)
    0 Professional negligence (25)                           Judicial Review                                   Miscellaneous Civil Petition
         Other non-PI/PDMID tort(35)                         0 Asset forfeiture (05)                           ~ Partnership and corporate governance (21)
    Employment                                               ~ Petition re: arbitration award (11)             ~ ether petition (not specked above)(43)
    0 Wrongful termination (36)                               ~ Writ of mandate(02)
         Other employment(15)                                 ~ Other judicial review (39)
 2. This case U is           U is not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
    factors requiring exceptional  judicial management:
    a.~ Large number of separately represented parties       d.0Large number of witnesses
    b.0 Extensive motion practice raising difficult or novel e.0Coordination with related actions pending in one or more courts
             issues that will be time-consuming to resolve           in other counties, states, or countries, or in a federal court
    c. ~ Substantial amount of documentary evidence          f.0Substantial postjudgment judicial supervision

 3.   Remedies sought(check all that apply): a.~✓ monetary b.0nonmonetary; declaratory or injunctive relief c. 0✓ punitive
 4.   Number of causes of action (specify): S: Breach of Contract, Conversion, Unfair Bus. Practices, Assault, Fraud
 5.   This case ~ is         ~✓ is not a class action suit.
 6.   If there are any known related cases, file and serve a notice of related case.(You may ~►m CM-015.)
Date: October 23, 2019
Natallia Mazina

  . Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
     in sanctions.
   • File this cover sheet in addition to any cover sheet required by local court rule.
   • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
     other parties to the action or proceeding.
   • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes onl~.eae ~ m
                                                                                                        Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
 Foy adopted for ~na~dat«y use                        CIVIL CASE COVER SHEET                                    Cal. Standards of Judicial Adm~s   y~ion, std. 3.10
   Judicial Counal of Calrfomia
   CM-010 [Rev. July 1, 2007)                                                                                                                               www.courtinfo.ca.gov
      Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 25 of 79 Page ID #:25
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                    COUNTY OF LOS ANGELES
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                   NOTICE OF CASE ASSIGNMENT                                              ~'~~=     ~ ~~s~" =~7_J:~~^`J~CLr       '.~
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                                                                                            ti v.           J~~:.ob Braley              [k-~~~t,~
                          UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   19SMCV01898

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE               DEPT     ROOM                     ASSIGNED JUDGE                           DEPT         ROOM
        Craig D. Karlan                    N




    Given to the Plaintiff/Cross-ComplainandAttorney of Record   Sherri R. Carter, Executive Officer /Clerk of Court
    on 10/29/2019                                                         By Jacob Bradley                                          ,neputy Clerk
                ([~are>

LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT —UNLIMITED CIVIL CASE                                                               025
LASC Approved 05/06
       Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 26 of 79 Page ID #:26
                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court,Title 3, Division 7,as applicable in the Superior Court,are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1,2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge,or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules,and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actaal Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Comalex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. if the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendaz Courtroom for all purposes.




LACIV 190(Rev 6/18)         NOTICE OF CASE ASSIGNMENT -UNLIMITED CIVIL CASE                                                 026
LASC Approved 05ro6
      Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 27 of 79 Page ID #:27
                                                                                                      Reserved fa Clerk's File Stamp
              SU PERIOR COURT OF CALIFORNIA

                   COUNTY OF LOS ANGELES                                                                       FLED
                                                                                                    SI~BlIOf iAI~R ~ ~MA~rya
 COURTHOUSE ADDRESS:                                                                                   r.►entyof LosAngeies
Santa Monica Courthouse                                                                                    10/2$f1019
1725 Main Street, Santa Monica, CA 90401
 PLAINTIFF:                                                                                j'~!- ~ ~_.:r~ _t~r~:.r~`~`~_.~. ~~rv.a~~ar

Anna Shoykhet et al                                                                            d~           ~a~b 8~~~~TY               ~:~tv
 DEFENDANT:
Nathalie Dubois et al
                                                                                           CASE NUMBER:
              NOTICE OF CASE MANAGEMENT CONFERENCE                                             19SMCV01898
TO THE PLAINTIFFS)/AlTORNEY(S) FOR PLAINTIFFS) OF RECORD:
                                                                                                           confer with all
You are ordered to serve this notice of hearing on all parties/attorneys of record forthwith, and meet and
                                                                        than  30 days  before the Case Managem  ent Conference.
parties/attorneys of record about the matters to be discussed no later
                                                                                                above on:
Your Case Management Conference has been scheduled at the courthouse address shown

                                     Date:                     Time:                  Dept.:
                                             04/27/2020                8:30 AM                 N

NOTICE TO DEFENDANT:            THE SETTING OF THE CASE MANAGEMENT CONFERENCE DOES NOT EXEMPT THE
                                  DEFENDANT FROM FILING A RESPONSIVE PLEADING AS REQUIRED BY LAW.
                                                                                                                (Judicial Council form #
Pursuant to California Rules of Court, rules 3.720-3.730, a completed Case Management Statement
                                                                                      nt Conferenc   e. The Case Management Statement
CM-110) must be filed at least 15 calendar days prior to the Case Manageme
                                                                        by each party/attorn ey of record. You must be familiar with the
may be filed jointly by all parties/attorneys of record or individually
                                             effectively in the Case  Managem   ent Conferenc   e.
case and be fully prepared to participate
                                                                                         the following, but not limited to, an order
At the Case Management Conference, the Court may make pretrial orders including
                                                                to Alternative Dispute Resolution  (ADR); an order reclassifying the
establishing a discovery schedule; an order referring the case
                                              e and  the trial date; or other orders to achieve  the goals of the Trial Court Delay
case; an order setting subsequent conferenc
Reduction Act (Gov. Code, § 68600 et seq.)
                                                                                 or appear and effectively participate at the Case
Notice is hereby given that if you do not file the Case Management Statement                                           ~ Procedure
                                       may    impose  sanctions, pursuant  t9--~ C,   Local   e 3.37, C de of
Management Conference, the Court                                                                                C  ifo   a Rules of
                                                                                        08, bdivision  ( , and
sections 177.5, 575.2, 583.150, 583.360 and 583.410, Government Codas
Court, rule 2.2 et seq.                                                   ~          s'E
                                                                        ~L,~Lx        t~
                                                                                  ,~,~,


gated: 10/29/2019                                                                 — -          Cr~Q D_ Karl~r~ f ,J~Q~
                                                                                                    Judicial Officer

                                                     CERTIFICATE OF SERVICE

                                                                                  certify that I am not a party to the cause
I, the below named Executive Officer/Clerk of the above-entitled court, do hereby
                                                                                upon each party or counsel named below:
herein, and that on this date I served the Notice of Case Management Conference
                                                                                         ,California, one copy of the original
0 by depositing in the United States mail at the courthouse in Santa Monica
                                                                                     postage thereon fully prepaid.
  filed herein in a separate sealed envelope to each address as shown below with the

❑ by personally giving the party notice upon filing of the complaint.
      Natallia Mazina
      10866 Wilshire Blvd. 4th Floor
      Los Angeles„ CA 90024
                                                                           Sherri R. Carter, Executive Officer /Clerk of Court

                                                                                                      gy Jacob Bradley
 Dated: 10/29/2019
                                                                                                                 Deputy Clerk
                                                                                                               Cal. Rules of Court, rules 3.720-3.730
 LACIV 132(Rev. 07/13)                     NOTICE OF                                                           LASC Local Rules, Chapter Three
 LASC Approved 10-03
 For Optional Use                CASE MANAGEMENT CONFERENCE                                                                             o2~
Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 28 of 79 Page ID #:28




                         EXHIBIT B
                                                                          ~2g
    J

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             Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 29 of 79 Page ID #:29
                n




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                         Ave. Suite 274
        2 34281~Iaxelia
            Marina Dei Rey, CA 90292                                                     DEC d 62019
        3 ~ Te1.314-482-9111                                                Slterrl R.     i~ ~'
        4 Plai~iffIn Fro Per
        3
                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
        6'
        7.                  COUNTY OF LOS ANGELES,SANTA MO1vICA COURTHOUSE

        8                                     UNLIIVIITED JURISDIG770N
        9
                                                               Case Na.: 19SMCV01898
        10
                 .VIPUR LLC,ANNA SHOYKHET,
        11       ~1~IELLE SHOYKHET,                            Assigner to Judge Craig D. Karlan
                                                               Department N
        12                    Plaintiffs,
                                                         DEFENDANT'S NOTICE OF ~E3~+IURRER ANA
        13                                               DENfCTRRER TO PLAINTIFFS' COMPLAIrIT;
                                                         MEMORANDUM OF POINTS AND
        14
                 .THAL,IE DUBOIS,DUBOIS PELIN            AUTHORITIES;REQUEST FOR JiJDICIAL
        15       50CIA'I'ES GROUP,and DOES 1 through 10, NOTIC E

        16                    Defendants.
        17                                                     Date: October 20,2020
                                                               Time: 8:30 am.
        18                                                     Dept: N
        19                                                     Complaint filed: October 28,2019
        20
                                                               [Reservation ID 940599~S2U76)
        21
        22 TU THE COURT,ALL PARTIES AND THEIR ATTORNEYS OF RECORD;
        23 PLEASE TAKE I~JOTICE that on October 20,2020,at 8:30 a.m. in Department N oftie above-
        24    entitted Court,locateid at 1725 Main Street, Santa Monica, CA 90401,Defendant NATHAL~
        25                            c
              DUBOIS("Nathalie" or "De~fendarn'~ hereby demurs to the Plai~ti8's' Cavi Pur LLC("Cavi"~, Anna

        26 Shykhet("Anna's ~d Gabrielle Shoykhet's {"Gabrielle's as follows:
~       27
~;_;    28
                                                               l
                                                    bEMURRER TO ODMPLAINT

                                                                                                       029
     Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 30 of 79 Page ID #:30



 l                              DEMURRER 1`~ TAE ENTIItE COMPLAINT

 2             Nathalie demius t4 the entire Complaint because the pleading does not state facts sufficient

 3 to constitute a cease of action against this defendant. Code ofCiv Prot.("CCP')§§ 430.10(e),
 4 430.301a),430.SD(a~ and 430.70.

 5                                         DEMURRER TO ~OUAi'I'I

 6             Tiathalie demurs to Plaintiffs Count 1 for Breach of Contractt on the grounds that i# fails to

 7        facts suf~Ficient to constitute a cause of action against this defendant CCP §§ 430.10(ej,

 8    430.30{a),430.50(a)and 430.7+D.

 9             Nathalie demurs specially to Plaintiff's Count I for Breach of Contract on the grounds tihat it

]0 is uncertain and ambig~wus. CCP §§ 430.1U(~,430.30(a),430.54(a)and 430.70; Cal. Rules ofCourt

I1    Rule 2.112.
 2                                        DEN~TJRRER TO COUNT II

l3             Ngthalie demurs to Plaintiffs Count II for Conversion on the grounds that it fails to state

14 facts sufficient to constitute a cause ofaction against this defendant, CCP §§ 430.i0{e),430.30(a),
l5    434,5(!(a)and 434.70.
16             Natha~ie demurs specially to Plaintiffs Count II for Conversion on the grounds that it is

l7    uncertain and ambiguous. CCP §§ 430.10(fl, 430.30(a), 430.SU(a)~d 430.70; Cad Rstles refCourt
1S    Rule 2.112,
19                                        D            ~   TOCOUNT III

20             Nathalie demurs to PlaintifFs Count III for Violation ~f California's Consumer Legal

21    Remedies Act Section 1754, et ~.on the grounds that it fails to state facts sufficient to constitute a

22 cause of motion against this defendant. MCP §§ 430.10(e),430.30(x),430.50(a)and 430.70.
23             Na#halie demurs specially to Plaintiffs Count III for Violation of California's Consumer

24    Legal Remedies Act Section 1750, e~t seq. on the grounds that it is uncertain end ambiguous. CCP §§
25    430.]0(~,430.30{a),430,50(x) an+d 430,70; Cul. Rules ofCourt Rule 2.112.
2{                                        DEMURI~ER TO CUiTr+TT IV

27             Nathalie demurs to Plaiatii~'s Count N for Assaul# on the growids thgt it fails to state facts

28    sufficieirt to constitute a cause of action against this defendant CCP §§ 430.10(e),4303(3(x),430.50(a)
                                                            2
                                                DEMURRER 7'0 C01v~LAINT
                                                                                                        030
           Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 31 of 79 Page ID #:31



      1     and 430.70.
     2               Nath~l~e demurs specially to Pla~nti$'s Count ~V for Assault on tl~ grate that it is              ~

      3 ~u~nkain and ambiguous. CCP §§ 430.1~~,430.30(aj,43fl.5U(aj and 430,70; Cal. R;cles ofCourt                    i,

     4 Rule 2.i12.
      5     T~s ~3emurrer is wed on this Notice,the aita~~ed Memorandum ofPoints and Authorities, any reply ~I
     6 thereto, the pleading a~ records on file in this action,the macbters vvhic~ the Court may take j~di~ial
      7 ~ti~e,and such ~u~ and ~ag~nent es may be p~sented at tie time of homing.
      8                                         D~~[_71tR~dt TO C~UIy'I''V

      9              Naihali~ demurs t~ Plaintiffs Ct>uaii ~ for Fraud aid deceit on tie grounds that it fails to

     1~     state facts su#~cisnt to constitute a cause ofaction against this def~endan~ CCf'§§ 430.10(e),
     11     430,3U(s),43t?.54(a)and 430.70.
     12              riat~iie demurs spe~ia~iy xo Plaintiff's Count V fvr Freud and Dactit on the grounds that it is
     13 ~cer~ain an d ambiguous. CCP £§ 430.10(fj,430.30(x), 430.SU{a)aid 434.7 ; Eal. Rules ofCourt
     14 Mule 2.112.
     15

     ~~                   nber 6,2019
     ]7
     1$
     19 Nathali~ Bois
         Defe~adaIIt In~}ter iix~ividvally and do g business
     2'~ as Dubois Pelin Associates ~iroup
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     Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 32 of 79 Page ID #:32



 1                           MEMORANDUM OFPOINTS A1~TD AUTHORITIES

2 L           Il'~TTRODUCTION
 3            This is an action by Plaintiffs for alleged events at a sales promotion event ai the prestigious
4     Cannes Film Festival in France.[Compl. ~:1-2].
5 II.         RELEVANT FACTS STATED iN THE COMPLAI~"VT
6             At Cannes Film Festival Plaintiffs were physically threatened and verbally insulted in public by
7 Defendant[Compl. X2:2-3].
 8            Defendant failed to deliver many obligations in agreement with Plaintiffs for the first suite.
9 [Compl. X2:4--5].
10            Defendant fraudulently induced Plaintiffs urto the agreement as a condition oftaking part in the

11    s~;ond gifting suite during the ESPY Awards.[Compl. X2:5-8].
12            Def~n~ant lmew Plaintiffs' interest was limited to the second gifting suite at the ESPY Awazds

13    and conditioned their participation in ESPY Awards on their participation in the Cannes Film Festival
14    Suite,forging Plaintiffs to pay for both suites all at once and far in advance.[Compl.X2:8-1 lj.
15            Defendant never intended to deliver the second gifting suite.[Compl.x:11].

16            Cavi is a Florida LLC[Compl.¶3].

17            Plaintiff w~ss insbnicted to reach Defendant Nathalie[Compl.~4].

18            DPA Cmoup is an winegistered entity doing business[Compl. ~5].
19            Anna and Gabrielle are part ofthe Cavi LLC[Compl.~l 3].

20            Natha~ie is an ex~utive ofDPA Group[Compl. ¶14].

21            DPA's business is to access to suites where representatives oferuct such as Cavi have the

22 opportunity to meet celebrities to encourage the celebrities to promote said product.[Compl. X15].
23            In late April 2019,Plaintiffs purchased the platinum packages from Defendant which entitled
24 them to access to two gifting suites for a total of$12,000. $4,000 for gifting suite associated with the
25    ESPY Awat~d ceremony,and $8,404 for the suite associated with the Cannes Film Festival.[Compl,
26    X17].
27            Plaintiffs intended to participate only in the ESPY Suite.In order to participate in the ESPY
28    Suite, Defendant requir~cl Plaintiffto purchase bo#h the Cannes mxlESPY Suites as a bu~ie.[Compl.
                                                          4
                                                 ~~tu~~x To coNrnLnn~rr
                                                                                                         032
     Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 33 of 79 Page ID #:33




      i20],
2             As part oftht platinum package,Defendant armed t~o deliver... ~Co~mp~. X21].
3             Plaintiffinciured costs in going to Cates to promote their pr+~d~ct[Compl. ~].
4 ill.        ARGUMENd~'
5     A.      LEGAL STANDA~ FORA D
S             Pursuant t~ Code ofCivil Procedwe § 430.14 {e-fl,a defendant may file a demurrer to a
7 s~mpiaint if 1)~e pleading does not std facts sufficient to oonstiitute a cause ofaction or 2)the
8 pleading is uncert~n, wbieh includes ambiguous and ~ei~igi'ble.
~             A plaintiffmust plead "the essential facfis of his case ►ovith r~east~nable precision and with
1~    particularity sufficient to ec~quaint a def+endarit with the nature, sourc~ee and extent of his Gauss of
11    action" (Ludgate Ins Co. ~ LockheedMm7in Corp. {20IX}) 82 Cai.A~.4th 592, 608.)
~2            "It is sett~~d law tl~t a pleading must allege fac#s and not r~iusions, and that material fact
13    must be alleges directly and not by way of r~+cital. Also, in pleading, the essential facts upon which a
 4    detert»ination of t~ controversy depends should be staxed with c~r~s aid precision so that nothing
15    is let3 to surmise. Thc~ recitals, referees to, or allegations ~f masezi~l facts, wlrich are leR to
ib    surmise, are subject to special demurrer for uuoe~nty." (Ankerry v. .Lc~ckl~eed Missiles aid S,~uce Cfl.
17    X1979) 88 {:a1.App.3d 531, 537.)
18              The mounds for the objection to a compl~t must "appear on tie face t~ereo~ or from any
19    matter of which the court is required to or may take judicial notica." {Code ofCivil Prr~cedure § 43fl.3a
20    {a).j Further, if here is no reasonable ~ossib~ity that a defect of the complaint can be cured, a
21 demurrer should be sustained withou# leave to amend. (Ciriuld v ~Ifmylund Svurullra~ustries, hrc.
22    (i99S) 31 Ca1.Ap~.43~ 1137,1153.)
23              "The burden is o~ the plaintiff to sew in what miner the complaint can be amended and
2~    how such ~n arneatlaneni would cure the deft." (Id)
25    ~.      COUNTIFi)lt BREACH OF CONTRACT FAILS Tfl SPATE SUFFICIENT FACTS
25            AND iS UI+t~ERTAIN AS A MATTER OF LAW
27            Plaintiffs allege breach of con~t against Defendant ~Crnnpl. ~ 35-47].
28
                                                               5
                                                  DEMURRER TO COMPI.AII+fI'
                                                                                                             033
            Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 34 of 79 Page ID #:34



        1           1,      Tie La~v
       2            CodE ofCiv.~§ 3b7 provides:"Every aeon must be prflsecuted m tbe Warne ofthe r~l
       3     party in in4er~st, e~cc~p~t as othErwise provided by stadrte." See Gantnum v il~ited Pac. h~.r. Ca (1991)
       4 232 C~1.App.3d l55fl, 15t~6;.lu~ni~ Networks, inc. v Su{~C~ {Mao~ll Semirnr+dr~ctr~r, Irac.)(2~9)
       5     180 CaI.AQp.4th 980,9~1.
       5            To prevail on a b~eac~ of~ntr~ct claim,t~ Plaintiffs will weed to establish each ofthese
       7          ti~1 elements;{1~ the cv~act,(2)the plainfs#~s pexf~or~ance ofthe oontrect or excise for
       8     nc►npsrformanc~, (3j the defendant's b~ac~, and (4j the resetting damage to the plaintiff." {jRichman v
        9    Bartley (2014) 22~ {:si.Ap}~.4t~ 1]82,1l86.)
       1D           "A contract is a voluatary a~ lawfiel egrr~ment, by count parties, for a g~

       11    consideration, to do or not to do a specified thing „ {~ohirrson v. Magee, (1858) 9 Cal. 81, 83,)
       12    "~het9~er a comet is suf5ciently definite to b~ enfor~eabl~ is a question of law #or the cow~t" (La~das
       13    v California State Aut~bile Assn (1993] 19 Cal.A~r.4th 7b1, 770, fn. 2.)
       14           The cx~cution of a cx>ntr~ci in writing, whether the laav requires it t~ be vyritt~en or not,
       15    sum all of t~ nego~atiflns or stipulations ~oaceraing its subject matter that preceded or
       ib    accompanied the execution of the contzact
        7           Terms set forth in a writingi           by tl~ parties as ~ final ~xpzession of their agr~nent with

       18 rat to #be farms i~ludcd im the writing may nc>t be contiadirx~d by evidence of any previous
       i9    agr~em~t or of a cont~nnporanenus oral went, Cade Civ. Prac. § 1856(a),
       20           The compl~nt cannot merely plead tt~t the ~rties had a oo            t; rather, it must plead the

       21    relevant contact terms. See Gilrnors v. Lycoming Fire Inr. Ca., 55 Ca1.123, 124 (1880} ("Where a
       22    party reli~.s upon a c~nt~act in writing, and it affirnn~ivsly appears tit all the tsmas of the c~ntx~ct are
       23    not set forth in hues verho, nor s~a~ed in heir iega~ effect, but that a porti~ which may tie material has
       24    been omitted, the comp~ai~t is ic~cient"); see alp hfarris v.1~ud~n, Richman c~ Adel, (1999) 74
       25    Cal.App.4th 299, 347 {"if ffie won is based on alleged br~cli of a vvrittea contract, tbe terms must be
       25    set out verbatim in tl~ body of the complaint or a copy of the written agreement must be attached and

is     27                          erenc
             ir~+carp~rat+od by referenc~."~ . Hers Plaintiff failed to Mach the written vontract to the complaint or
:_~~   28    gaote verbatim the material teens of the contract in complaint.
  l




                                                                                                                    034
            Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 35 of 79 Page ID #:35




        1           2.      The defe~ets in Plambffs' alleeationa

       2                    a.      Plaintiff Anna

       3                    ~ 37 alleges that Gabrielle entered into an rn~al and written agreement on behalfof Cavi.
       4     Thus,Aga is not a party to any a~ment oral or vvritt~n and has no standing as to this cause of
       5     action snd canaot allege sufficient facts to constitute a cause ofaction.
       6                    b.      Plaintiff Gabrielle

       7                    '~ 37 alleges that Gabrielle entered into an oral and written agre~mcnt on behalfofCavi.

       8     Thus, Gabrielle is not a party since she was purportedly acting as an agern to any agreement Drat or
       9     written and has no standing as to this cause ofaction and cannot allege su~iicierrt facts to constitute a
       10    cause of acfian.
       1i                   c.      Plaintirg Cavi

       12                   It is uncleaz as to the agency and authority of Gabrielle on behalfof Cavi.

       13                   Further since a written contract is alleged, a copy ofthe agreement must be attached

       14    since the writing as a matter oflaw controls the "agreement" between Cavi and Defendant DPA since
       15    the allegations ofthe complaint do not set forth material terms and conditions.
       1b    C.     COUNT II FOR CONVERSION FAILS TO STATE SUFFICIENT FACTS AND ~S
       l7           UNCERTAIN AS A MA'I"I'ER OF LAW
       18           Plaintiffs allege conversion against Defendant [Compl.'~'~ 48-54J.

       19           Code ofCiv. Prnc. § 3b7 provides:"Every ackion must be prosecuted in the name ofthe real

       20    party in imerest,excep# as otherwise provided by statute:'See Gontman v. United Puc. lns. Co.(1991)
       21    232 Cai.App.3d 1560, ISb6;Jasmine Networks, Inc. v Sup.Ct. (Marvell Semiconductor, Inc.) X2009)
       22    1$0 Ca1.App.4#h 9$0,'991.
       23           1.      The I~w
       24           "Crnnversion is the wrongfiil c~eTcise of dominion over the property ofanother. The elements
       2S    ofa conversion claim are:(1)the plaintiffs ownership or right to possession ofthe property;{2)the
       26    defendants conversion by a wrongful act or disposition ofproperty rights; and(3)damages:'(Lee v.

n      27 Han1~y(20i 3~ 61 Cal.4th 1225,1240.)
;
~;     28           "It is necessary to show an assumption ofcontrol or ownership over the property, or that the
:~ ;                                                               7
                                                       DEMURRER TO COMPLAQJT

                                                                                                               035
            Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 36 of 79 Page ID #:36



        1    alleged cvnverte.~ has applied the property to lus own use."...'"(Shopo„~`'& Cava~lo LLP v..Nyor~n

       2 {2008) l67 Cal.App.4th 1489,1SU7.)

       3            "To prove a cause ofaction for conversion,the plaintiff must show the defe~daat acted

       4     irnentianally to wrongfiilly dispose ofthe property of mnother."(Duke v. Superior Court(?017j l8

       5     Ca1.App.Sth 490, 508..)

       6           "`To establish a conversion, plaintiffmust establish an actual interference with his ownership

       7     or right ofpossession.... Where plauitif~neithet has title to the property alleged to have been

       8     converted, nor possession thereof, be cannot maintain an action for conversion'"(Moore v Regents of

       9     the Univ. ofCal.(1990]51 Cat.3d 120, 136.)

       10           "Where tt~e conduct complainer) ofdoes not amount to a substantial interF~nce with

       i1    po~s~sson or the right thereto, but consists ofintenmedd~ing with or use ofor damages to the peisonal

       12    property,the owner has a cause ofaction for trespass or case,and may recover only the actual

       13    damages suffered by reason of the impairment ofthe property or the loss ofits use. As[plaintiff] vas

       14    a cotenant and had the right ofpossession ofthe realty, which included the right

       15    to keep his personal pmperty thereon,[defendant]'s act ofplacing the goods in storage, although not

       Ib    constituting the assertion ofownership and a substantial interference with possession to the event of~

       17    conversion,amo~mted to an intermeddling. Therefor,[piai~o~iff] is e~ntid~l to actual damages in an

       18    amount sut~icient to compensate him for any impairment oftie property or loss ofits use."(Zoslow

       19    v Kroenert(l94~ 29 CaI.2d 541,55]—SS2,)

       20           "['TJhe law is well settled that there can be no conversion where an owner either exp~ressiy or

       21    impiiedly assenis to or ratifies the tang,use or disposition of his property."(Farrington v. A.

       22    Teichert &Son,I»c.(1943)59 Cal.App.2d 46B, 4~4.)

       23           "In order to establish a conversion,the plairrtiff `must show an intention or purpose to convert

       24    the goods ~d w exercise ownership over them,or to prevent the owner fiom taking possession of his

       25    property.' Thus,a necessary elemern ofthe tort is an intent to exercise ownership over property which

       26    belongs to anther. For #his reason, conversion is considered an intentional tort."(Collin v American

r.~    27    Empire Insurance Co. X1994)21 Ca1.App.4th 787, 812.)
, ~;
~_~    28           "`Negligence in caring for the gods is not an act of dominion over them such as is necessary
~;                                                                8
                                                      DEMURRER TO COMPLAMT

                                                                                                               ~~
     Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 37 of 79 Page ID #:37




 l    to make tine bailee liable as a converter.' Thus a warehouseman's negligence in causing a fire which

 2    destroyed the plaintiffs' goods will not support a conversion claim."(Gonzales v. Pers. Storage(1997)

 3    56 Cal.App.4'~ 464,477.)
 4           "Although damages for conversion ere frequently the eoquivalent to the damages for negligence,

 5    i.e., specific recovery ofthe property ar damages based on the value ofthe property, negligence is no
 6    part ofan action for conversion"(Taylor v. Forte Hotels Int'1(1991)235 Ca1.App.3d 1119, l 123.)
'7            2.     Tie defects in Plaintiffs' allesations
 8                   a.      P~intifl'Anna
 9'                  ~ 13 alleges that the product represemed by Anna and Gabrielle vv~as owned and

14    manufa~hareii by Cavi. At the very least, the paragraph is uncertain because it does not allege that

l1    Anna or Gabrielle have any ownership or right to a possessory interest in said product.

12                   ~ 37 alleges that Gabrielle entered into an oral and written agreement on behalf of Cavi.

13    Thus, Anna is not a party to any agreemern oral or written and has no standing as to this cause of
14    action and cannot allege sufficient fats to constitute a cause of action. As a mattes oflaw, Anna has no
15    standing to assert a conversion cause ofaction.

l6                   b,      Plaintiff Gabrielle
17                   ~ 13 alleges that the product represented by Anna aad Gabrielle was owned and

l8    manufactured by ~Cavi. At the very ]east,the paragraph is uncertain because it does no# allege that

19    Arena or Gabrielle have any ownership interest ~r right to a possessory i~rest in said product.
20                   '~ 37 alleges that Gabrielle ente~d into an oral and written agreement an behalfofCavi.
21    Thus, Gabrielle is not a party to any agreement oral ar written and has no standing as to this cause of
22    action and cannot allege sufficient facts to constitute a cause of action.

23                   As a matter oflaw, Gabrielle has no standing to assert a conversion cause of$etiion.
24                   e.      Plaintiff Cavi
25                   Cavi does not establish the authority for Anna or Gabrielle. Further complicating #his

26 .Cow is the fact that Plaintiffs have not attached the actual written agreement to determine the
27    obligations ofthe parties, so it is left to mixhue ofthe alleg~l oral pazts ofthe agreement(not
2S    separated from the written)and the written parts ofthe agreement which would control over the oral as
                                                            9
                                                DEMURRER TO COMP9.A~JT
                                                                                                        037
     Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 38 of 79 Page ID #:38




 1    a matter oflaw.
2                    ~ 28 alleges that only Anna vyas bl~ked from entering tt~e suite while Gabrielle was

3     still inside with tie Cavi product
4                   '~ 51 alleges that Plaintiffs were required give away product in the suites.

5                    ~ 52 alleges that at1 product that was not given away(or presumably rewired to be

6     given away)was returned to Plaintiffs. The pazagraph does not allege facts that Defendant caused any
7     damage to the product
8     D.     ~OiJ1KT DI FOi~t VIULATIUN OF!CALIFOIt1VIA'3 C4AISUMER LEGAL REMEDIES

9            ACT 5EL"i'I03~T 1750,ET SEQ.FAILS TO STATE SUFFICIENT FACTS AND IS

10           ~TPICER'~'AIN AS A MATTER OF LAW

11           Plaintiffs allege violation ofCalifornia's Consumer Legal Remedies Act Section 1750,et seq.

12 against.Defendant[Compl.'~ 55-59].
13           Code ofCiv Proc. § 367 provides:"Every action must be prosecuted in tiie name ofthe r+~

14    party m interest, except as otherwise provided by statute." See Gartman v United Pac. Ins. Co.(1941)
l5    232 Cal.App,3d 1560, iSb6;Jasmine Networkr, Inc. v Sup.C~ (Marvell Semiconductor, Inc.)(2409)
16    180 Ca1.App.4th 980,991.
17            1.     The     w

1~            Civ. Code § 1'76l(d)defines"Consumer" as"an individual who seeks or ac9              ,byP~

19 or lease, any gods or services for personal,family, or household purposes."
20           2.      7'he dcfec~ts in Plaintiffs' allegations

2l            ~ l3 admits that this is a business ventwe for a business product This is not a consumer
                                                                                                 to the statue
22 traction as a matter ofstatutory definition and the Plaintiffs cannot amend to conform
23 by their own ac~nissions in the pleadings. As such this cause of action as to all Plaintiffs should be
24 ,ustained without leave to amend.
25    E.      COUNT'IV FOR ASSAULT FAILS TO STATE SUFFIG7ENT FACTS AND IS
2b            UNCERTAIN AS A ~VIATTER 4F LAW .

27                    1.     ~'he Law Plaintiffs allege violation ofCalifornia's Consumer Legal Remedies

28     Act Section 1750,et seq. against Defendant.[Compl.'~¶ 55-59].
                                                        14

                                                                                                      038
     Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 39 of 79 Page ID #:39




 i             Code ofCiv Proc: § 357 provides:"Eves action must be prosecutes in fhe name ofthe real
 2    party in interest, except as otherwise provided by statute," See Gartman v United Pac. Ins. Co.(i991)
 3    232 Ca1.App.3d 15b0,1566;Jasmine Networks, Inc. v. Sup.Ct. (Marvell Semico~rduc~or, Inc.)(2009)
 4    180 Ca1.App.4ih 980,991.
 5            "The essential elements of a cause ofaction for assault are:(1)defendant acted wi#h intent to
 6    cause hazmfiil or offensive contact, or threatened to touch plaintiffin a harmful or offensive manner;
 7 (2)plaintiffreasonably believed she was about to be touched in a hazmful or offensive manner or it
 8    reasonably appeared to plaintiffthat defendant was about to carry out the Wit;(3)P~sintiff did not
 9 consent to defendant's cDnduct;(4)plaintiff was harmed;and {5)defendant's cflnduct wes a substantial
10 factor in causing plaintiffs harm."(So v. Shin(2413)212 Cal.App.4th 652,668-6b9.)

11            "`Generally speaking, an assault is a demonstration ofan unlawful intent by one person to
12 inflict immediate injury on the person ofanother then present,'"(Plofiik v Meihaus(2012)208 Cal.
13    App.4th I590, 1603-1G04.)
14            "A civil action for assault is based upon an invasion oft}ie right ofa person to dive without
15    being put in fear ofpersonal harm."(Lowry v. Standard Dil Co. ofCalifnrnia(1944)63 Cal.App.2d l,
16    6-7.)
17            "Furthermore,... `while apprehension ofthat contact is the psis of assaul# ~citation,~ [mJere
18    words,however threatening, will not amount to an assault [Citations.]'"(Plotnfk,supra,208
i9    Ca1.App.4th at p. 1644.)
20            Restatement Second ofTorts, section 21 provides:(1)An actor is subject to liability to another
2] for assault if(a) he acts intending to cause a harmful or offensive contact with the person ofthe other
22    or a third person,or an imminent apprehension ofsuch a contact, and(b)the other is thereby put in
23    such imminent apprehension.(2)An action which is not done with the irnention stated in Subsection
24 (1,a)does not make the actor liable tin the other for an ~pprebe~.sion caused thereby although the act
25    involves an unreasonable risk ofceasing it and,therefore, would be ~gligent or reckless if the nsk
26 threatened bc~di~y harm.

27
28
                                                            ll
                                                DEMURRER'!'O COMPLAINT
                                                                                                       039
     Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 40 of 79 Page ID #:40



 1            2.      The defects in Plaintiffs' aUc~tions

2                     a       Plaintiff Anne

3                     There are no allegations that Nathalie acted with intent, thad Anna was in fear ofa
                                                                   Tathalie blocking Anna from entering
4 harmful touching, and that there wire any damages as a result ofI,
5     the suite. Anna attempts to reinforce her lack ofsufficient facts by allegations ofcontroversial
6 statements by Nathaiie which are defective as a matter oflaw and are discussed in Defendant
7 concurrent Motion to Strike.
$                     b.      Plaintiff Gsbrielle

9                     There are no allegations ofthat Defendant as a matter oflaw did anything to Gabrielle

10 that constitutes au assault
11                    c.      Plaintiff Cavi

l2                    There are no allegations ofthat Defendant as a matter oflaw did anytt►iz;g to Cavi that

]3    constitutes an assault Defendant asserts as a matter of law the Court should sustain without leave since

14    it is leg~a.11y impossible to assault Cavi.

l5    F.      COUNT NFOR FRAUD AlWD DECEIT FAILS T4 STATE SUFFICIENT FACfS AND

16            IS UNCERTAIN A5 A MATTER OF LA1~V
l7            Plaintiffs allege Fraud a~ Deceit ag~.inst I3efendants. {(;ompl. ~ b7-73J.
                                                                                                                       ~
18            Code of Civ Proc. § 367 provides: "Every action must be prosecuted in the name of the real
                                                                                                          )
19    patty in interest, except as othervyise provided by statute." See Gartman v UnitedPic. Ins Cd (] 99~
20    232 Ca1.App.3d 1564, 156b; .lusm~e Networkr, .Inc. v Sup.C~ (Marvell Semicor~uctor, I»c.) {2009)
21    180 Ca1.App.4th 980, 991.
22            i,       The Lew

23            `"The el~ne~ of fraud that will give rise to a tort action for deceit are: " `(a) misr~presen#ation

24    (false representation, conce~llmer~t, or nondisclosure); {b) knowledge of falsity (or `scienter'); (c) u~te~nt

25    to defraud, i.e., to induce reliance; (d) justifiable reliance; and {e) resulting damage.' " {Engalla v
26    Permanente Medical Group, Inc. (199'n 15 Cal.4th 951, 974.)

27             "A complaint for fraud must allege the following elements: {1) a l~wingly false

2$     representalion by the defendant; (2) an intent to deceive or induce reliance; (3) justifiable reliance by
                                                             12
                                                    DEMURRER TO C'OMPLAtM'

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     Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 41 of 79 Page ID #:41




 1    tie plaintiff; aad ~4)resulting dams."{Service Icy Medallion, Inc. v. Clormr Co.(1995}44
 2    Cai.A,pp.4~i 1807, 1816).

 3            "Puffing," or sales talk, is generally cc~a►sid~ered opinion, unless it involves a

 ~    re~rese~t~ion of pc~duct sa£etY- {,ff~uuter v. Zogarts (1975) 14 Cal.3d X04, 112.)

 5            "Fraud is an i~tentic~nal tort; it is the element of fraudulent inient, or intent to deceive, that

 6    distinguishes it fivm actio~ab~e gegiig~nt misrepresentation and fi+om nonacttonabie innocent

 7    ~isrcpr~sentation. It is the element of intent which maces #'raud actionable, i              ve of any

 8    ~ntrac:tuai or fidi:~ciary duty ors party might oave to the oxher." {City ofAtascadero v. Merrill Lynch,
 9    Fierce, ~'er~ner Br Smith {1~8) 68 Cal.App.4th X445, 4$2.)
1~            "A prt~mise of ire conduct is asctionable as fraud only if made without a present intent to
1~    perfo~n. `A ~l~ration of inteation, slthoug~ in the nature of a promise, made in good faith, without
12    intention to deceive, ar~d in the finest expectation thaf it v~+ill be fulfilled, even though it is not carried

13    oat, does not ~onsritute a fraud.' I►rdo~ver, `"something more than nonperfo~anance is required to
14    prc,~re tie defendant's intent not to perform his promi~+e." ... ~i]f plaintiff a~dd~ces no fiu~ther evince
15    of fraudulent intent than proof of aonperformauce of an oral pr+~mise, lie will never reach a jury., "
i6    (Mag~ali v. F~rrmers Group, Inc. (199b) 48 Cal.App.4th 471, 481.)

17            T'~e facts constituting framed must be sp~ifically ply so that tt~e court can determine from
i~    ttae     lain whe~er a prima facie case is alleged Cooper v. Leslie Salk Co. (19b9) 70 Cad. 2d {2~,
19    b3~6; G~Idrich v Natural YSurgical S,~eci~lt es, lrac x(1'994) 25 Cal_App 4th 772, 7827$3 tcon~lusory
2U    all~gatic~n that defendants made false repr~sentati~ns without indicating specifically what was said by
21    vvhonl 4r in whaR manner, lacked the requisite specificity for pleading ~ra~). Gen~l allegations are
22    insufficient,111arton v I,ove~an (1968) 2G7 Ca1.A~.2d 71~., 720. Every element of the cause of action
23    for fraud must be alleged in the proper manner, faab~Ay and ~pecific~ly. Lesp~err~n{ce v North Air.
24    Aviation, Inc. {1'963) 217 ~.App.2r133fi, 344..

25           2.       3'6e defects ~ Plaintiffs' slk~atieas
26                   ~.       P~intiff Anna
27                    Phis is a cvmmerciai transaction. The only party that has standing as a matter of law is
2$    Cavi. Plaintiffs' admit in ~ 37 of ~e Cflmpiaint diet Crabrielle ~gotiated the agreEa~ent and not Anaa,
                                                          13
                                                  o~uxR~ro co~e~n~rrr
                                                                                                               041
      Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 42 of 79 Page ID #:42




 i     sfl only Gabrielle ~ocording to Plaintiffs' allegations was involved in ~y ~e~esentations by

 2     Defendant.

 3                     b.      PhiGabri~e

 4                      phis is a ~onam~erc~l           ia~n. The oiily party that has sta~iag as a mattef oflaw is

 5     Cavi. Plaintiffs' admit in ~ 37ofit~e Com~iaint ti~at Gat~iell~e actsc~ as as► agent for Cavi tc~ negotiate

 b     ~e teems a~cl conditians of ~e a~ee~nent thus, as a fimction of the elements of fraud and decei#,

 7     [3efendant could only ind~e Cave through its agents to participate ,and be damaged, if any.

 $                     c.      PLii~tiff Cavi

 9                     Tie allegations of the ~Camglai~at .lack any sp~cifi~ity as to infient, j~ustifiabie reliance
                                                                                               and do not meet the
1~f    and material misr~resentations, Plaintiffs' f~etusi allegations are all conclaisory

11     strut level of pi~di~g required fc~r this Comet.

12     ~'~✓,   REQ~ST FtD~t JUD~CiAL ~01'ICE
                                                                                                fi
13             defendant requests that the Court take judicial notice under Evid Code § 452~d)of he

14 Plaintiffs' ~c~mp~aimt filed in his scti<m on L~ober 28,2U19.

15 'V,           CONCLUS~+O~i
                                                                                                        be sustained
lb               For the above stated r~o~ns,Defen~daat's Demurrer ia► whom or in pazt should

l7     ~,+i~hc~ut ~eav~e to amend.

18
       Da~t~:~ Dec~m~er b, 2019
19

2fl

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       i+Ta~atie Du is
22     Defendant InP~ P~

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2b

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                                                            14
                                                    ~uR~x ~ro ~o~:nrrrr
                                                                                                               042
         Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 43 of 79 Page ID #:43




     ~    PROOF OF SERVICE

    2 STATE OF CALIFORNIA,CO~TNTY OF LOS ANGELES
    3
      I am employed in the County ofLos Angeles,State ofCalifornia. I am over the age of 1S and
    4 not a party to tie vvitt~in action. My business address is 3428 Maxella Ave. Suite 274
      Marina Del Rey,CA 90292
    5
    ~ (fin December 6,2019,I served true copies ofthe forEgoing documents)descried as:
      NOTICE OF DE~IJRRER AND DEMURRER,MEMORANDUM 4F PAINTS AND
    ~ AUTHi)RI'I'IES; REQUEST FUR JUDICIAL NUTICE on the interested sties in this action by
      placing a true and cornett copy ofthe dvcnment thec~eoferrcl~sed in steed envelopes addressed as
    $ follows:
    9
    ~~    A~l.'~:*~PkFi:T K~'~LTR
          NI~►L.J~A LAW
   11     1086£ Wilshire 81s~d_, 4th Tioor
              An~e~es 0.90024
   12     Annrneysfor Plai~,ti~s
   13     SYi~+i,~IL:Id~posi~ such envelope ir+ the maid at Los Angeles, California. '~"he enve~o~ was mailed
   14     'with pos#age the~on fully prepaid.

   15 IAare under the penalty of perjury under the laws of t~~c State flf Califorflia tk~at the foregoing is taue
      arr~ pct.
   lb
      ~x~utsd this 6`~ ciay of December 20l 9 at ~aria~a del Frey, CA.
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          Aboub~acar Sissoko
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Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 44 of 79 Page ID #:44




                         EXHIBIT C
                                                                         044
•    ~~
         Case'~.2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 45 of 79 Page ID #:45



                                                                            F~~       ~~
      Nathalie Dubois
      3428 Maxella Ave. Suite 274
    2
      [vlarina Del Rey,CA 90292                                          ~~ {~ ~
    3 Tel. 314-482-9I 1 l                                                             ~e
                                                                       ~!. ar1e~. ~
                                                                                           o.w~r
    4     PlaintiffIn P'ro Per
    5
    6
                                 SUPERIUR ~C+C)URT 4~'THE STATE ~F CALIFO~tNIA
    7
                           CUiTiNTY OF I,O~S AN~E~.ES,SANTA MOIYI~A CO~JRM'HflUSE

                                            UNLIf1+IITEI)JU~SDI~ON
    9
    1Q
                                                              bass N~.. 19SIVICVU1898
    11      'Y~ PIJR ~,LC,ANNA SH~YKHET,
             ;BRIELLE SHUYKHET,                               Assigned to Judge Craig D. Kardan
    12                                                        De~neirt N
                             Plaintiffs,
    13                                               ~EFEI~fDAN~'NATHAI.IE DIIBOIS'S NOTICE
    14                                               4F MOTION ~I+FD MOT~4N TO STRIKE
                                                     PU~tT'~flNS flF PLAIlVTIFFS' COA~PLAIIVT;
    15       .THALIE 1~[JBOI~,DUBOiS PEL~1           MEMORANDUM 4F Pt)INTS AND
             5~3CIATE~ GRC)UP,and DOES 1 th~ugl~ 10, A[JTHORI'T~S;REQUEST FOR J~JDICL~LL
    15                                               ~~~~
                         Defendants.
    17
    i~                                                        date: ~c#ober 2~,242
                                                              Tine: 8:3~ a.m.
    19                                                        Dept: N

    20                                                        Coanplaint filed: October 2$,2019
    21
    22
          T41`HE C~ORUT,A~..L PARTIES AND TF~E~R ATTORNE'Y~ flF RECORD:
    23
                   PLEASE TAKE N{)TICE t}~at o~ October 20,2420,at 830 am.in Department N ofthe
    24
          above-entid~ Court,iocaLed at 1725 Main Sti+~ei, Santa Monica,CA X0441, Defendant NATHALIE
    25
          D[JBOIS("Na#fialie" or "Defsndant"j moves to strike tl~e foilvv~ring specific portions ofthe ~omplai~t
    2b
          fi1~d by Plaintiffs Cavi Pur LLC("Cavi'~, Anna Shykhe~(uAnna'~ and Gabrielle Shoyichet's
    27
         ("~Gabrielle'~,
;;' 28
                                                               1
                                                     n~o~r~oN rosrw~
                                                                                                        045
      Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 46 of 79 Page..ID #:46
                                                                                   y1~                                             ~




 1             This Motion to Strike is made pursuant to Caiifomia Code of Civil Procedtu~ sections 435,
 2 43fi and 437 on the grounds th~ the Complaint includes numerous irrelevant, false and improper

 3     allegations which should be stricken p~,usuant to Galifomia Cade of Civil procedure section 436(a}
 4 ir~asrnuch as tt~e ~leg~ions have nothing to do with si~her ofthe caws ofa#ion alleged in

 S     Plaintiff' Cosn~lain~. The false, irrelevant                 imprope.~ a~~gatia~ss were inserted for the sole

 ~
 S     purpose ofharassing, emban~.zsing.and humiliating Def~dant in an effort to shame her into an
 7     unm~etit~d set#lement and should be stricken in t~aeir entirety, Tl~e specific portions ofthe
 8     Complaint that Defen~c~ant requests be stricken because fey are irrelevant and improper ane as
 9 foilov~+s:
10                '
                  • 2(~, page 3, lines 9-13 in itsentirety.

11                • ~ 25,gage 4,lines 6-1 U in its entirety-

12                 +    ~ 2t,gage 4,lies l 1-13 in its entirety.

13                • ~ 29, page 4, 1uies 17-18 in its ~rrrorety-

14                • '~ 3t~, page 4, line !9 in its entiraty-

 5                 ~    i3~, ~fS'~ $, 11DC5 Z4-~ Ii1 !t3 Cflt]1~'


16                • ~ 33,          3, link 1-3 in its en~inety.

17                 ~•   ~ 34,      S, lines 4-6 in ixs et~ticety.

1$                 ~    Count III in rts ent~ety,~ 55-59, pages '7, lire 7 t~ g~ 81ine 1.

                                    ,  8,"as Defent~t was in the middle other racial tirade, ~scn'bing Anna                 as a
19                • ~ 61,age 8 Does '7

2fl                     "di~gust6ng Jew,"

2i                 ~    ~ 73, page 9, lines 13-15 in its entirety.

22                • PraYe~,~ B,f~ge 9 lines 22-23,"For exe~nplary, Lr+eble, aid punitive damages in an amount to

23                      be deteranir~d by the coin,"

24                • Prayer.l B,PBSE 9 lint 23,Iwt in no evert kss than One Million Dollars($l,{mD,ODO).

25               Tfiis Motion is hosed on this Notre,die NJotion W Strike, t~se attschod Memorandum ofPoints and

26     Authorities filed hrrewit6, Dtfe~,ant's conturrsntly filed Darn           ,all other pleadings and papers on fi)e ~n

                                                                                                     or at the time ofthe
27     this cation, and such doc~menLs, oral evidence or argument as rnaj+ be presented before

2$     hearing ~n tfiis matter.
                                                                       2
                                                           M0770N Tp S7RtKE

                                                                                                                     046
      •Case 2:20-cv-05654-MWF-ADS    Document 1 Filed 06/25/20 Page 47 of 79 Page ID #:47
       y   ,.




       1   Dated: November 29,2039
      2                     1,
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        Nathalie Dubois
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Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 48 of 79 Page ID #:48




                         EXHIBIT D
                                                                          048
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     SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                             Civil Division
                       West District, Santa. Monica Courthouse, Department N

  19SMCV01898                                                                       Apri12, 2020
  ANNE SHOYKHET,et al. vs NATHALIE DUBOIS,et al.                                        2:05 PM


  Judge: Honorable Craig D. Karlan                CSR: None
  Judicial Assistant: D. Salisbury                ERM: None
  Courtroom Assistant: None                       Deputy Sheriff: None

  APPEARANCES:
  For Plaintiff(s): No Appearances
  For Defendant(s): No Appearances




  NATURE OF PROCEEDINGS: Court Order Re Court Closures;

  Based on current conditions, including, but not limited to, the spread of COVID-19,the need for
  social distancing, and a state of emergency having been declared by Governor Newsom,the
  court finds good cause to advance and vacate the Order to Show Cause hearing in this matter and
  reset it as follows:

  On the Court's own motion, the Case Management Conference scheduled for 04/27/2020 is
  advanced to this date and continued to 10/20/2020 at 08:30 AM in Department N at Santa.
  Monica Courthouse.

  Clerk to give notice.

  Certificate of Mailing is attached.




                                           Minute Order                               Page 1 of 1
                                                                                             049
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                         EXHIBIT E
                                                                         ~5~
Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 51 of 79 Page ID #:51

     SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                            Civil Division
                       West District, Santa Monica Courthouse, Department N

 19SMCV01898                                                                            April 16, 2020
 ANNE SHOYKHET,et al. vs NATHALIE DUBOIS,et al.                                               1:31 PM



 Judge: Honorable Craig D. Karlan                     CSR: None
 Judicial Assistant: D. Salisbury                     ERM:None
 Courtroom Assistant: None                            Deputy Sheriff: None


  APPEARANCES:
  For Plaintiff(s): No Appearances
  For Defendant(s): No Appearances




  NATURE OF PROCEEDINGS: Court Order
                                                                         of COVID-19,the need for
  Based on current conditions, including, but not limited to, the spread
                                                                        Governor Newsom and
  social distancing, and a state of emergency having been declared by
                                                                           Order to Show Cause
  President Trump,the court finds good cause to advance and vacate the
  hearing in this matter and reset it as follows:
                                                                   n to Strike(CCP 430.10)
  On the Court's own motion, the Hearing on Demurrer -with Motio
                                                                      led for 10/20/2020 are
  scheduled for 10/20/2020, and Case Management Conference schedu
                                                                in Department N at Santa.
  advanced to this date and continued to 06/26/2020 at 10:00 AM
  Monica Courthouse.
                                                                         filing of opposition and
  The Court encourages the parties to reach a stipulation regarding the
                                                                        of Civil Procedure section
  reply papers in advance of the statutory deadlines set forth in Code
                                                                      will allow the Court additional
  1005, subdivision (b). Early receipt of opposition and reply briefs
                                                                        greater number of motions
  time to consider pending motions, as the Court will be faced with a
                                                                             ize that while an
  than normal upon the Court's reopening. The Court takes care to emphas
                                                                       ory, and no party or attorney
  adjusted briefing schedule is encouraged, it is by no means mandat
                                                                               ted briefing schedule
  will find themselves at a disadvantage for declining to enter into a stipula
                                                                         ies may not be in a position
  during this period, as the Court is cognizant that some attorneys/part
  to do so at this time."
                                                                              nt counsel.
   Clerk to give notice to Plaintiff who shall give notice to all other releva

   Certificate of Mailing is attached.




                                               Minute Order                                 Page 1 of 1
                                                                                                   O51
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                         EXHIBIT F
                                                                         052
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                                                                                                                                         CM-110
ATTORNEY OR PARTY WITHOUT ATTORNEY(Name, State Bar number, and addressJ:                                      FOR COURT USE ONLY
NATALLIA MAZINA (SBN 271824)
MAZINA LAW
100 Pine St. #1250
San Francisco, CA 94111

          TELEPHONE NO.: 4'I J
                             r-SOZ-4OJ7                     FAX NO.(Optionaq:

E-MAIL ADDRESS (OptionaQ     ~~'►aZlf18eQ PhBffTih@8~th~8W.COfT1
                                ANNA SHOYKHET et al
   ATTORNEY FOR (Name): CAVI PUR LLC,

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
 STREET ADDRESS: SafltB MOf11C8 COUftIIOUS@
 MAILING ADDRESS: "I7ZJ M81f1 Stf@@t S8flt8 MOf11C8,      CA 90401
CITY AND ZIP CODE:
    BRANCH NAME: Santa MOf11C8 COUftIIOUS@

    PLAINTIFF/PETITIONER: CAVI PUR LLC, ANNA SHOYKHET et al
 DEFENDANT/RESPONDENT: Nathalie Dubois et al.
                                 CASE MANAGEMENT STATEMENT                                     CASE NUMBER:
                                                                                               19SMCV01898
(Check one): Q UNLIMITED CASE                              Q LIMITED CASE
               (Amount demanded                              (Amount demanded is $25,000
               exceeds $25,000)                              or less)

A CASE MANAGEMENT CONFERENCE is scheduled as follows:
Date: 04/27/2020          Time: 8:30             Dept.: N                              Div.:                        Room:

Address of court (if different from the address above):

x Notice of Intent to Appear by Telephone, by (name): Natallia Mazina
~
             INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided.
1. Party or parties (answer one):
   a. Q This statement is submitted by party (name): CAVI PUR LLC, ANNA AND GABRIELLE SHOYKHET
   b. 0 This statement is submitted jointly by parties (names):
2. Complaint and cross-complaint (to be answeried by plaintiffs and cross-complainants only)
    a. The complaint was filed on (date): 10/28/2019
   b. ~ The cross-complaint, if any, was filed on (date):
3. Service (to be answered by plaintiffs and cross-complainants only)
   a. ~x All parties named in the complaint and cross-complaint have been served, have appeared, or have been dismissed.
   b. ~ The following parties named in the complaint or cross-complaint
                 (1) 0 have not been served (specify names and explain why not):

                 (2) 0 have been served but have not appeared and have not been dismissed (specify names):


                 (3) ~ have had a default entered against them (specify names):

    c. Q The following additional parties may be added (specify names, nature of involvement in case, and date by which
         they maybe served):




    Description of case
    a. Type of case in Ox complaint                 ~ cross-complaint            (Describe, including causes of action):
       This is a civil action for breach of contract, conversion, breach of contrail, assault, and unfair business practices under
       California's Consumers Legal Remedies Act ("CLRA") and fraud arising out of Defendants' treatment of Plaintiffs in connection
       to Defendants' finro "gifting suite" sponsorship events.
                                                                                                                                          Page 1 of 5
                                                                                                                                   Cal. Rules of Court,
Form Adopted for Mandatory Use                       CASE MANAGEMENT STATEMENT                                                      rues 3'~20.3'~30
Judicial Council of California
                                                                                                                                    www.courts.ca.gov
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                                                                                                                                   053
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                                                                                                                                     CM-110
    PLAINTIFF/PETITIONER: CAVI PUR LLC, ANNA SHOYKHET et al                                     CASE NUMBER:
                                                                                                19SMCV01898
 DEFENDANT/RESPONDENT: Nathalie Dubois et al.
4. b.    Provide a brief statement of the case, including any damages. (If personal injury damages are sought, specify the injury and
         damages claimed, including medical expenses to date Indicate source and amount], estimated future medical expenses, lost
         earnings to date, and estimated future lost earnings. If equitable lief is sought describe the nature of the relief.)

      Plaintiffs Anna and Gabrielle were physically threatened and verbally insulted in public by Defendants and on behalf of
      Defendants. Defendants further failed to deliver on many of the obligations included in their agreement with Plaintiffs, including
      fraudulently inducing Plaintiffs into the agreement as a condition of taking part in the second "gifting suite."
        (If morie space is needed, check this box and attach a page designated as Attachment 4b.)
5. Jury or nonjury trial
   a. The party or parties request Q a jury trial        ~ a nonjury trial. (If mo►e than one party, provide the name of each party
      requesting   a jury trial):


6. Trial date
    a. ~ The trial has been set for (date):
    b. Ox No trial date has been set. This case will be ready for trial within 12 months of the date of the filing of the complaint (if
          not, explain):


    c. Dates on which parties or attorneys will not be available for trial (specify dates and explain reasons for unavailability):
       11/22/2020; 12/23/2020 - 1/15/2021


7. Estimated length of trial
    The party or parties estimate that the trial will take (check one):
    a. ~ days (specify number): 3
    b. 0 hours (short causes) (specify):

    Trial representation (to be answeried for each party)
    The party or parties will be represented at trial ~x      by the attorney or party listed in the caption   ~ by the following:
    a. Attorney:
    b. Firm:
    c. Address:
    d. Telephone number:                                                    f. Fax number:
    e. E-mail address:                                                      g. Party represented:
   0 Additional representation is described in Attachment 8.
    Preference
          This case is entitled to preference (specify code section):
10. Alternative dispute resolution (ADR)
    a. ADR information package. Please note that different ADR processes are available in different courts and communities; read
        the ADR information package provided by the court under rule 3221 for information about the processes available through the
        court and community programs in this case.
      (1) For parties represented by counsel: Counsel 0 has               0 has not provided the ADR information package identified
          in rule 3221 to the client and reviewed  ADR   options  with the client.
      (2) For self-represented parties: Party Q has ~ has not reviewed the ADR information package identified in rule 3.221.
    b. Referral to judicial arbitration or civil action mediation (if available).
       (1) ~ This matter is subject to mandatory judicial arbitration under Code of Civil Procedure section 1141.11 or to civil action
                 mediation under Code of Civil Procedure section 1775.3 because the amount in controversy does not exceed the
                 statutory limit.
       (2) ~ Plaintiff elects to refer this case to judicial arbitration and agrees to limit recovery to the amount specified in Code of
                 Civil Procedure section 1141.11.
       (3) ~ This case is exempt from judicial arbitration under rule 3.811 of the California Rules of Court or from civil action
                 mediation under Code of Civil Procedure section 1775 et seq. (specify exemption):

cM-„o ~Re~. ~~~Y ,, zo„~                         CASE MANAGEMENT STATEMENT
                                                                                                                                     Page 2 of 5



                                                                                                                               054
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    PLAINTIFF/PETITIONER: CAVI PUR LLC, ANNA SHOYKHET et al                                    CASE NUMBER:
                                                                                               19SMCV01898
 DEFENDANT/RESPONDENT: Nathalie Dubois et al.

10. c. Indicate the ADR process or processes that the party or parties are willing to participate in, have agreed to participate in, or
       have already participated in (check all that apply and provide the specified info~rr►ation):




                             The parry or parties completing     If the party or parties completing this form in the case have agreed to
                             this form are willing to            participate in or have already completed an ADR process or processes,
                             participate in the following ADR    indicate the status of the processes (attach a copy of the pafies' ADR
                             processes (check all that apply):   stipulation):
                                                                 x Mediation session not yet scheduled
                                                                 ~
                                                                        Mediation session scheduled for (date):
     (1) Mediation                           X
                                                                        Agreed to complete mediation by (date):
                                                                 ~ Mediation completed on (date):

                                                                 x Settlement conference not yet scheduled
                                                                 ~

     (2) Settlement                        ~                     Q Settlement conference scheduled for (date):
         conference                                              0 Agreed to complete settlement conference by (date):
                                                                 0 Settlement conference completed on (date):

                                                                 x Neutral evaluation not yet scheduled
                                                                 ~
                                                                 0 Neutral evaluation scheduled for (date):
   (3) Neutral evaluation                  ~                     0 Agreed to complete neutral evaluation by (date):
                                                                        Neutral evaluation completed on (date):

                                                                 ~ Judicial arbitration not yet scheduled

  (4) Nonbinding judicial                 ~                      Q .ludicial arbitration scheduled for (date):
       arbitration                                               ~ Agreed to complete judicial arbitration by (date):
                                                                 0 Judiaal arbitration completed on (date):

                                                                 x Private arbitration not yet scheduled
                                                                 O

     (5) Binding private                   Q                     ~ Private arbitration scheduled for (date):
         arbitration                                             0 Agreed to complete private arbitration by (date):
                                                                        Private arbitration completed on (date):

                                                                  0 ADR session not yet scheduled
                                                                  ~ ADR session scheduled for (date):
     (6) Other (specify):                  0
                                                                  0 Agreed to complete ADR session by (date):
                                                                  ~ ADR completed on (date):




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                                                 CASE MANAGEMENT STATEMENT


                                                                                                                              055
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    PLAINTIFF/PETITIONER: CAVI PUR LLC, ANNA SHOYKHET et al                                  CASE NUMBER:
                                                                                             19SMCV01898
 DEFENDANT/RESPONDENT: Nathalie Dubois et al.

11. Insurance
    a. ~ Insurance carrier, if any, for party filing this statement (name):
    b. Reservation of rights: ~ Yes ~ No
    c. ~ Coverage issues will significantly affect resolution of this case (explain):



12. Jurisdiction
  Indicate any matters that may affect the court's jurisdiction or processing of this case and describe the status.
  0 Bankruptcy 0Other (specify):
  Status:

13. Related cases, consolidation, and coordination
    a.0There are companion, underlying, or related cases.
                (1) Name of case:
                (2) Name of court:
                (3) Case number:
                (4) Status:
                   Additional cases are described in Attachment 13a.

    b. ~ A motion to              ~ consolidate          Q coordinate         will be filed by (name party):


14. Bifurcation
  ~ The party or parties intend to file a motion for an order bifurcating, severing, or coordinating the following issues or causes of
         action (specify moving party, type of motion, and seasons):




15. Other motions
   x The party or parties expect to file the following motions before trial (specify moving party, type of motion, and issues):
   ~

            A demuRer hearing is pending.

16. Discovery
     a.0The party or parties have completed all discovery.
     b. ~x The following discovery will be completed by the date specified (describe all anticipated discovery):
              ~p                                    Descri to ion                                                           date

    Plaintiffs                                      Written discovery                                          09/08/2020
    Platintiffs                                     Depositions                                                10/01/2020




    c. 0The following discovery issues, including issues regarding the discovery of electronically stored information, are
        anticipated (specify):




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                                                 CASE MANAGEMENT STATEMENT

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    PLAINTIFF/PETITIONER: CAVI PUR LLC, ANNA SHOYKHET et al                                       CASE NUMBER:
                                                                                                  19SMCV01898
 DEFENDANT/RESPONDENT:    Nathalie Dubois et al.

17. Economic litigation
     a. ~ This is a limited civil case (i.e., the amount demanded is $25,000 or less) and the economic litigation procedures in Code
          of Civil Procedure sections 90-98 will apply to this case.
     b. ~ This is a limited civil case and a motion to withdraw the case from the economic litigation procedures or for additional
          discovery wilt be filed (rf checked, explain specifically why economic litigation procedures ►elating to discovery or trial
          should not apply to this case):




18.Other issues
    0 The party or parties request that the following additional matters be considered or determined at the case management
      conference (specify):




19. Meet and confer
     a. Ox        The party or parties have met and conferred with all parties on all subjects required by rule 3.724 of the California Rules
                  of Court (if not, explain):

                  Counsel for plaintiffs were not able to reach the defendant in timely manner.




     b. 0 After meeting and conferring as required by rule 3.724 of the California Rules of Court, the parties agree on the following
          (specify):




20. Total number of pages attached (if any):
 am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute resolution,
as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these issues at the time of
the case management conference, including the written authority of the party where required.
Date: 4/16/2020

Natallia Mazina
                            (TYPE OR PRINT NAME)                                                  (SIGNATURE OF PARTY OR ATTORNEY)




                            (TYPE OR PRINT NAME)                                                  (SIGNATURE OF PARTY OR ATTORNEY)

                                                                               ~ Additional signatures are attached.



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                                                   CASE MANAGEMENT STATEMENT




                                                                                                                                     057
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                                                                                                                              Officer/Clerk of Court, by K. Parenteau,Deputy Clerk
lectronically FILED by Superior Court of California, County of Los Angeles on 04/17/2020 10:21 AM Sherri R. Carter, Executive




                                                                                       PROOF OF SERVICE


                         ~ Re:             CaviPur LLC v. Dubois., Case No. 19SMCV01898
                         ~                I, Jorge Bueso, declare:
                         ~          I am over the age of 18 years and not a party to the within cause. My business address isg
                             100 Pine street, Suite 1250, San Francisco, CA 94111. On April 17, 2020, I served the followin
                          ~` documents(s) by the method indicated below:
                                           PLAINTIFFS' CASE MANAGEMENT STATEMENT


                           [] (By Mail) By causing each such envelope to be served by depositing same,          with postage
                        1~ thereon fully prepaced, with the United   States Postal
                                                                              with
                                                                                   Service
                                                                                    the
                                                                                            m the
                                                                                        business '
                                                                                                   ordinary
                                                                                                   practice
                                                                                                             course
                                                                                                            for
                                                                                                                    of business at
                                                                                                                collecti on and
                        lq San Francisco, California. I am   readily familiar
                                                                                                      Service.
                         1 processing of correspondence for mailing with the United State Postal

                        ~~ [X~ (By Electronic Mail)    By causing each such document to be delivered by electronic service
                           to individual emails set forth below, as agreed by the parties.
                                                                                                        by facsimile
                        1~     [] By Facsimile Transmission) By causing each such document to be served
                        12     transmission to the fax numbers)set forth below.
                        14
                        13               NATHALIE DUBOIS                                                   Email: nathab@me.com
                        15               Pro per defendant                                                 nathalied@dpagroup.org
                        14
                        16
                        15
                        17
                        16
                        18                                                                                    that this declaration
                        17      I declare under penalty of perjury that the foregoing is true and correct and
                         19     was executed on Apn-1 17, 2020 at Fairf~, CA.
                        18

                         ly
                                                                                                            Jorge Bueso
                        ZO

                        z~

                         ~~

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                                                                                            PROOF OF SERVICE
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                        EXHIBIT G
                                                                         059
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    1   NATALLIA MAZINA(SBN 271824)
    2   AMANPREET KAUR (SBN 271782)
        MAZINA LAW
    3   10866 Wilshire Blvd., 4'h Floor
        Los Angeles, CA 90024
    4   Tel.: (818)945-9005
    5   Fax: (415)358-8839

    6   Attorneys for Plaintiff
        CAVI PUR LLC, ANNA SHOYKHET,
    7   GABRIELLE SHOYKHET

    8                     SUPERIOR COURT FOR THE STATE OF CALIFORNIA

    9                   COUNTY OF LOS ANGELES,NORTH VALLEY DISTRICT
   10

   11
        CAVI PUR LLC, ANNA SHOYKHET,                      Case No.: 19-SMCV-01898
   12
        GABRIELLE SHOYKHET,
                               Plaintiffs,                FIRST AMENDED COMPLAINT FOR:
   13
               vs.                                           1) Breach of Contract
   14                                                        2) Conversion
                                                             3) Unfair Business Practices
   15   NATHALIE DUBOIS,DUBOIS PELIN                         4) Assault
        ASSOCIATES GROUP,and DOES 1 through                  5) Fraud and Deceit
   16   10,                                                  6) Intentional and Negligent Infliction
                                                                of Emotional Distress
   17                                  Defendants.
   18                                                     DEMAND FOR JURY TRIAL
   19                                                     Action Filed: October 31,2019
                                                          Trial Date: None set
   20

   21
   22          Plaintiffs Anna Shoykhet("Anna"), Gabrielle Shoykhet("Gabrielle") and Cavi Pur LLC
   23 ("Cavi Pur")(collectively "Plaintiffs"), by and through their attorneys, based on their own

   24   experience and investigation and the independent investigation of counsel and information and
   25   belief, allege against Defendants Nathalie Dubois("Nathalie") and Dubois Pelin Associates
   26   Group("DPA Group")(collectively "Defendants") as follows:
   27

   28



                                    FIRST AMENDED COMPLAINT FOR DAMAGES
                                                                                             1.1
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    1                                           NATURE OF ACTION
                 This is a civil action for breach of contract, conversion, assault, unfair business practices
    2
    3   under Business and Professions Code Section 17200 et seq., fraud, and negligent/intentional

    4   infliction of emotional distress arising out of Defendants' treatment of Plaintiffs in connection to I
    5   Defendants' two "gifting suite" sponsorship events. During the first suite — at the Cannes Film
    6
        Festival —Plaintiffs Anna and Gabrielle were physically threatened and verbally insulted in
    7
        public by Defendants and on behalf of Defendants. Defendants further failed to deliver on many
    8
        ofthe obligations included in their agreement with Plaintiffs for the first suite, including
    9
   10   fraudulently inducing Plaintiffs into the agreement as a condition oftaking part in the second

   1 1 "gifting suite" during the ESPY Awards. Defendants knew Plaintiffs' interest was limited to the
   12   second gifting suite at the ESPY Awards and conditioned their participation in the ESPY Awards
   13   Suite on their participation in the Cannes Film Festival Suite, forcing Plaintiffs to pay for both
   14
        suites all at once and far in advance. Defendants never intended to deliver the second gifting
   15
        suite.
   16
   17                                                   THE PARTIES

   18            1.        Plaintiff Anna is a citizen and resident of Brooklyn, New York.

   19            2.        Plaintiff Gabrielle is a citizen and resident of Brooklyn, New York.

   20            3.        Plaintiff Cavi Pur LLC is a limited liability company registered to do business in

   21   Florida. Plaintiffs Anna and Gabrielle hold 100% membership interest in Cavi Pur LLC and act

   22   as its officers.

   23            4.        Upon information and belief, Defendant Nathalie is an individual residing in

   24   Marina Del Rey, California. Shortly before the commencement ofthe acts alleged herein,

   25   Plaintiff was instructed to reach Defendant Nathalie at an address in Marina Del Rey.

   26            5.        Upon information and belief, Defendant DPA Group is an unregistered entity

   27   doing business in California and abroad.

   28



                                        FIRST AMENDED COMPLAINT FOR DAMAGES
                                                            1                                      061
Case 2:20-cv-05654-MWF-ADS Document 1 Filed 06/25/20 Page 62 of 79 Page ID #:62




    1           6.       The true names and capacities ofthe defendants sued herein as DOES 1 through
    2   10, inclusive, either individual, corporate, limited liability company or partnership, are unknown
    3   to Plaintiffs at this time, and Plaintiffs therefore sue said defendants by such fictitious names and
    4   will seek leave of court to amend this complaint in order to show the true names and capacities
    5   of said defendants when the same have been ascertained. Plaintiffs are informed and believe, and
    6   based thereon allege, that each ofthe defendants designated herein as a DOE aze responsible in
    7   some manner for the events and happenings herein referred to and which proximately caused the
    8   damages as hereinafter alleged.
    9                                     JURISDICTION AND VENUE

   10           7.       Jurisdiction over Defendants is proper under California Code of Civil Procedure

   11 I I Sec. 410.10.
   12           8.       The harms and obligations alleged herein were incurred and occurred in Los
   13   Angeles County.
   14           9.       Jurisdiction is premised upon the fact that the damages suffered by Plaintiffs are

   15   in excess ofthe minimum sum required for jurisdiction in the Superior Court ofthe State of
   ~I California.
   17           10.      This Court has general jurisdiction over Nathalie because she lives and/or
   18   conducts business in California by contracting to supply services here, and has thus purposefully
   19   availed herself of the jurisdiction ofthis Court.
   20           1 1.     This Court has general jurisdiction over DPA Group because it conducts business

   21   in California by contracting to supply services here, and has thus purposefully availed itself of
   22   the jurisdiction of this Court.
   23           12.      Venue and jurisdiction are further proper in this county as Defendants asked

   24   Plaintiffs to deliver the products at issue in this case to an address in Manna Del Rey.
   25                                      FACTUAL BACKGROUND

   26           13.      Plaintiffs Anna and Gabrielle are a mother and daughter team behind the Cavi

   ~~ venture, a small business creating nutrient rich supplements.
   28



                                      FIRST AMENDED COMPLAINT FOR DAMAGES
                                                            2                                      062
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    1             14.     Upon information and belief, Defendant Nathalie is the founder and executive of

           ~ DPA Group.
                  15.     Upon information and belief, DPA Group's exclusive business is to sell brand

           representatives access to "gifting suites" where the representatives can expect to meet well-

           known A-list celebrities that may be seen promoting their products.

                  16.     Upon information and belief, these gifting suites are associated with awards

    7      ceremonies around which celebrities congregate.

    8             17.     In late April, 2019 Plaintiffs purchased the "platinum package" from Defendants

    9      which entitled them access to two gifting suites for a total cost of $12,000. $4,000 for the gifting

   10      suite associated with the ESPY Award ceremony, and $8,000 for the suite associated with the

   11      Cannes Film Festival.

   12              18.    The Cannes Film Festival gifting suite ("Cannes Suite") was to be held at the

   13      Intercontinental Carlton Hotel in Cannes, France from May 15 to 23,2019.

   14             19.     The Excellence in Sports Performance Yearly Award gifting suite("ESPY Suite''

   15 ~ was to be held at the Liixe Hotel in Los Angeles from July 15 to 16, 2019.

   16             20.     Plaintiffs communicated their interest in participating in only the ESPY Suite due

   17      to the nature of Cavi Pur's supplement, which focuses on increasing endurance and fast recover

   18      after physical activities. In order to participate in the ESPY Suite, Defendants required Plaintiffs

   19      to purchase both the Cannes and ESPY Suites as a bundle. Not being offered a choice in the

   20      matter, Plaintiffs purchased both gifting suites.

   21 I           21.     As part ofthe platinum package, Defendants agreed to deliver, among other

   22      things, the following:

   23                         a. Access to A-list celebrities to whom Plaintiffs would be allowed to

   24 !I                            Cavi Pur branded products during each gifting suite;

   25                         b. Professional PR staff members who would be responsible for escorting

   26                               celebrities to Cavi Pur's table during each gifting suite;

   27                         c. Professional photographers to capture Plaintiffs' table, products, and

   28                               impressions with celebrities at each gifting suite. Those professional



                                          FIRST AMENDED COMPLAINT FOR DAMAGES
                                                               3                                    063
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    1                          photographs would then be transferred to Plaintiffs in the form of CDs or

    2                          web links within a day after the end of each gifting suite;

    3                      d. Mentions of Cavi Pur in Defendants' pre and post press releases and in its

    4                          various social media.

    5          22.     In preparation for the Cannes Suite, Plaintiffs purchased airline tickets, hotel

    6   accommodations, proper attire and transportation; printed and prepared marketing materials; and

    7   pulled 375 bottles oftheir product from inventory to give away at the suite.

    8          23.     During the Cannes Suite, Defendants failed to provide A-list celebrities,

    9   professional staff, or professional photographs.

   10          24.     With the exception oftwo,the multi-day Cannes Suite offered "celebrities" that

   11   were, at best, actors who had small roles in television episodes and, at worst, Nathalie's friends

   12   and associates all of whom expected free samples from Plaintiffs.

   13          25.     Making things worse, on May 21,2019(in the middle ofthe multi-day Cannes

   14   Suite), Nathalie became enraged toward Anna for no apparent reason except Nathalie disliked

   15   the fact that Anna was sharing a bottle of wine with Nathalie's associate or client, Jesse Hino,

   16   outside ofthe gifting suite toward the end ofthe day in order to celebrate Jesse associate's

   17   birthday.

   18          26.     As recorded in a police report ofthe incident, Nathalie was recorded describing

   19   Anna using highly offensive racial terms, including "disgusting Jew" and "disrespectful Jewish

   20

   21          27.     Nathalie physically pushed Anna back as Anna tried to enter into the suite where

   22   Gabrielle was attending to the Cavi Pur table.

   23          28.     Nathalie blocked Anna from entering the suite.

   24          29.     Eventually, Nathalie called the hotel security, which removed Gabrielle and Anna

   25   from the suite and the hotel premises.

   26          30.     Plaintiffs did not violate any hotel or DPA Group rules, yet Nathalie had

   27   removed from the venue altogether by hotel security.

   28          31.     As is apparent from the police report, no one was drunk or drinking irresponsibly.



                                     FIRST AMENDED COMPLAINT FOR DAMAGES
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    1           32.     Anna was distraught by the incident and was taken to the hospital. The hospital
    2   report showed that Anna had no detectable level of alcohol in her blood and that she had an
    3   elevated heart rate and blood pressure suggesting a cardiac event.
    4           33.     Defendants seized Plaintiffs' remaining products (approx. 180 bottles of the

    5   supplement) from the Cannes Suite, which were later returned but some products were damaged
    6   and therefore became unsellable. Defendants failed to include Plaintiffs in any further press       i'

    ►71 releases.
    8           34.    Despite this treatment, Plaintiffs intended to continue with the ESPY Suite, which

    9   was more important to Plaintiffs due to the nature of their product. However, Defendants never
   10   responded to Plaintiffs' repeated inquiries about the ESPY Suite.
   11           35.    Plaintiffs later learned that Defendants never intended to participate in the ESPY

   12   Suite as it was not listed on the Defendants' website. In fact, Defendants initially provided
   13   Plaintiffs with the wrong dates for the ESPY Suite.
   14           36.    Defendants retained the $4,000 for the EPSY Suite and failed to issue a refund as ~

   15   requested by Plaintiffs.
   16                                COUNT I: BREACH OF CONTRACT

   17                                       (As Against AllDefendants)

   18
   19           37.    Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

   20   through 36 as if fully set forth herein.
   21           38.    On or around April 22, 2019, Plaintiff Gabrielle entered into an agreement (oral
   22   and written) on behalf of Plaintiff Cavi Pur with Defendants, providing that Defendants would,
   23   among other things, provide Plaintiffs access to the Cannes Suite and the EPSY Suite for their
   24   full duration, and that the Suites would include A-list celebrities and professional staff.
   25           39.     The written agreement consisted of two invoices: (1) Invoice #DPACannes-
   26   17561, and (2) Invoice #DPApreEspys. Both invoices described the services to be provided by
   27   Defendants (attached to the complaint as E~chibit 1).
   28



                                      FIRST AMENDED COMPLAINT FOR DAMAGES
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    1            40.     Plaintiffs delivered $8,000 on April 22,2019 and $4,000 on May 2, 2019 for a
    2   total ofthe agreed upon sum of$12,000 for the package.
    3            41.    Plaintiffs delivered the required two samples oftheir product to Defendants.
    4            42.    Plaintiffs performed all of the conditions, covenants, and promises required on

    5 ' their part to be performed in accordance with the terms and conditions of their agreement with
    6   Defendants.
    7            43.    Defendants failed and/or refused to perform their obligations in full accordance
    8   with the agreement.
    9            44.    Defendants failed in their obligation to provide A-list celebrities at the Cannes
   10   Suite.
   11            45.    Defendants failed in their obligation to provide Plaintiffs access to the Cannes

   12   Suite in its final days.
   13            46.    Defendants failed in their obligation to furnish professional quality photographs

   14   from the Cannes Suite. Plaintiffs were forced to employ professional services to edit the poor
   15   quality photographs.
   16            47.    Defendants' failed in their obligation to include Plaintiffs in their social media or '~
   17   post event press releases.
   18            48.    Finally, Defendants failed in their obligation to provide Plaintiffs access to the

   19   EPSY Suite altogether.
   20            49.    As a direct and proximate result of Defendants' material breaches of their
   21   agreement, Plaintiffs have been damaged.
   22            WHEREFORE,Plaintiffs pray for relief as set forth below.
   23                                      COUNT II: CONVERSION

   24                                     (As Against All Defendants)

   25
   26            50.    Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1
   27   through 49 as if fully set forth herein.
   28



                                      FIRST AMENDED COMPLAINT FOR DAMAGES
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    1           51.      On May 21, after Defendant Nathalie banned Plaintiffs from re-entering the
    2   Cannes Suite, Defendant wrongfully exercised control over all of Plaintiffs' remaining Cavi Pur
    3   branded product.
    4           52.      Plaintiffs brought 375 bottles oftheir supplements to the Cannes Suite to
    5   distribute to the A-list celebrities, who were promised to attend.
    6           53.      Upon information and belief, Plaintiffs were required to give away many ofthe

    7   bottles to people who were simply Defendants' acquaintances.
    8           54.      Further, after Defendants disallowed Plaintiffs Anna and Gabrielle from re-

    9   entering the Cannes Suite, Defendants took possession of the remaining Cavi Pur products,
   10   totalling approximately 180 bottles of Cavi Pur's supplements. Later, the product was returned
   11   Plaintiffs but many bottles were damaged and were thus rendered unsellable.
   12           55.      Plaintiffs did not consent to either giving away their products to non-celebrities
   13   to Defendants.
   14          56.       Plaintiffs have been harmed and Defendants' conduct was a substantial factor in

   15   causing Plaintiffs' harm.
   16   WHEREFORE,Plaintiffs pray for relief as set forth below.
   17
   18                           COUNT III: UNFAIR BUSINESS PRACTICES
   19                      (As Against Defendant DPA Group and Nathalie Dubois

   20
   21          57.     Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1
   22   through 56 as if fully set forth herein.
   23          58.       Defendant DPA Group's above described acts —including but not limited to

   24   representing its gifting suites as having A-list celebrities and professional photographers/staff,
   25   misrepresenting the nature of the ESPY suit —were and are unfair, unlawful, and fraudulent acts
   26 I and practices in violation of the California Business and Professions Code Section 17200, et seq.
   27          59.       Business and Professions Code, Section 17200 states, in pertinent part: "...unfair
   28   competition shall mean and include any unlawful, unfair or fraudulent business act or practice



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    1   and unfair, deceptive, untrue or misleading advertising and any act prohibited by Chapter 1

    2 (commencing with Section 17500)of Part 3 of Division 7 ofthe Business and Professions

    3   Code."
    4            60.    Defendants engaged in "unfair" business practices because their conduct was

    5   unethical, oppressive, and substantially damaging to Plaintiffs. Specifically, and without

    6   limitation, the particular offensive conduct includes: precluding Plaintiffs from participating in

    7   both "gifting suits," physically evicting Plaintiffs from the Cannes Suit, disparagement of Jewish
    8   ancestry among peers and in public, not affording Plaintiffs the benefit ofthe bargain, breaching

    9   contractual promises and representations.

   10            61.    Defendants engaged in "fraudulent" business practice because members of the

   1 1 ', public are likely to be deceived as a result of the conduct alleged herein. Specifically, and

   12   without limitation, the particular conduct includes: intentionally misrepresenting that the ESPY

   13   Suite would take place and Plaintiffs would be allowed to participate, intentionally

   14   misrepresenting the services to be provided to Plaintiffs during the Cannes Suite.

   15            62.    As a direct and proximate result of Defendants wrongful acts, Plaintiffs suffered

   16   harm and losses as described herein and in amounts to be proven at trial. Plaintiffs therefore seek
   17 (1)restitution and punitive damages as provided in California Civil Code Section 3294, and (2)

   18   attorney's fees as allowed by California Code of Civil Procedure Section 1021.5.

   19            WHEREFORE,Plaintiffs pray for relief as set forth below.

   20                                         COUNT IV: ASSAULT

   21                               (As Against Defendant Nathalie Dubois)

   22

   23            63.    Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

   24   through 62 as iffully set forth herein.

   25            64.    On May 21, 2019, as Defendant was in the middle of her racial tirade, describing

   26   Anna as a "disgusting Jew," she physically blocked her from entering the door to the Cannes
   27   Suite.

   28



                                      FIRST AMENDED COMPLAINT FOR DAMAGES
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    1 '              65.   Defendant acted, intending to cause harmful and offensive contact by physically

    2      pushing Plaintiff Anna to stop her from entering the Cannes Suite while shouting verbal insults
    3      at her.
    4                66.   Anna reasonably believed that she was about to be touched in a harmful and

    5      offensive manner as Defendant approached her to block her from entering the Cannes Suite.
    6                67.   Anna did not consent to Defendant physically blocking her in the manner she did 'i

    7 ~ while verbally insulting her.
    8 ~              68.   Anna was harmed by Defendant's conduct and was taken to the hospital

    9      immediately following the incident.
   10                69.   Defendant's conduct was a substantial factor in causing Plaintiffs hann that lead

   11      to her hospital visit.
   12      WHERFORE,Plaintiffs pray for relief as set forth below.
   13                                     COUNT V: FRAUD AND DECEIT

   14 j                                      (As Against All Defendants)

   15                70.   Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

   16      through 69 as if fully set forth herein.
   17 ',             71.   In order for Plaintiffs to participated in the ESPY Suite, Defendants —namely

   lg      Nathalie Dubois —required that Plaintiffs pay for both the Cannes Suite and the ESPY Suite at
   19      the same time, and purchase them as a bundle.
   20                72.   Defendants never intended to deliver the ESPY Suite.

   21                73.   When Defendants required Plaintiffs to purchase both suites at the same time,
   22      Defendants knew that they would not be able to deliver the ESPY Suite because no such event
   23      was scheduled for July 15-16, 2019.
   24                74.   When Defendants required Plaintiffs to purchase both the Cannes Suite and ESl

   25      Suite as a bundle, Plaintiffs did not have any reasons to know —and did not know —that
   26      Defendants would fail to deliver the ESPY Suite. Therefore, Defendants made a promise that
   27      was important to the transaction and which induced Plaintiffs to enter into the contract with
   28      Defendants, when Defendants never intended to perform on such promise.



                                         FIRST AMENDED COMPLAINT FOR DAMAGES
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    1           75.    As a direct and proximate result of Defendants' fraudulent conduct, Plaintiffs

    2 I have been damaged by relying on Defendants' promise to deliver ESPY Suite, which was
    3   important to Plaintiffs' business.
    4          76.     In addition, Defendants made various promises in connection with the Cannes

    5   Suite as described in Paragraph 21. Defendants intentionally failed to deliver on these promises,
    6   which constitutes fraudulent misrepresentation.
    7          77.     As a direct and proximate result of Defendants' fraudulent misrepresentations,
    8   Plaintiffs have been damaged by relying on Defendants' promise to deliver necessary services in
    9   relation to the Cannes suit.
   10          78.     In engaging in the conduct alleged herein, Defendants acted with oppression,

   11   fraud, and malice. As a result, Plaintiffs are entitled to exemplary damages.
   12           WHEREFORE,Plaintiffs pray for relief as set forth below.
   13
   14      COUNT VI: INTENTIONAL AND NEGLIGENT INFLICTION OF EMOTIONAL
   15                                               DISTRESS

   16                              (As Against Defendant Nathalie Dubois)

   17          79.     Plaintiffs repeat and reallege each and every allegation contained in paragraphs 1

   18   through 78 as if fully set forth herein.
   19          80.     During the Cannes Suite, Defendant Nathalie became enraged toward Anna

   20   calling her "disgusting Jew" and other derogatory names. Nathalie physically pushed Anna and
   21   blocked her from entering the suite. Eventually, Nathalie called hotel security to evict Plaintiffs
   22   from the suite. The confrontation was witnesses by many participants ofthe Cannes Film
   23   Festival, making it extremely embarrassing to Anna and Gabrielle. The argument was escalated
   24   to such a degree that Plaintiff Anna had to be admitted to a local hospital, where it was
   25   documented that Anna experienced a cardiac event as a direct result of the stressful incident.
   26          81.     Defendant knew,or should have known,that evicting Plaintiffs from the suite and

   27   berating them in public using racial slurs would cause Plaintiffs Anna and Gabrielle severe
   28   emotional distress.



                                       FIRST AMENDED COMPLAINT FOR DAMAGES
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    1              82.    As a proximate result of Defendant's acts, Plaintiffs were publicly humiliated to

    2       degree that Anna had to be taken to a hospital, and Gabrielle watched her mother in physical pai
    3       from what looked very much like a heart attack. Plaintiffs Anna and Gabrielle suffered severe
    4       emotional distress and mental suffering due to the Defendant's conduct.
    5               WHEREFORE,Plaintiffs pray for relief as set forth below.
    6                                          PRAYER FOR RELIEF

    7
    8       WHEREFORE,Plaintiffs pray for judgment as follows:
    9              A.      For general, special, consequential and incidental damages in such sums as may

   10       be sustained by proof and ascertained before judgment herein, but of not less than $100,000,
   11       according to proof;
   12              B.      For exemplary, treble, and punitive damages in an amount to be determined by

   13       the court;
   14              C.      For prejudgment interest on such monetary relief;

   15              D.      For restitution and treble damages under Civil Code 3345(Count III)

   16              E.      For attorney's fees pursuant to Code of Civil Procedure 1021.5 (Count III)

   17              F.      For cost of bringing this suit, including reasonable attorneys' fees; and

   18              G.      For such other and further relief as the Court may deem just and proper.

    19
   20
   21       DATED: May 29,2020                            MAZINA LAW

   22
   23                                                     ~QATALLIA MAZINA
                                                          AMANPREET KAUR
   24                                                     Attorneys for Plaintiffs
                                                          ANNA SHOYKHET,GABRIELLE SHOYKHET
   25 ~',                                                 CAVI PUR LLC
   26
   27
   28



                                         FIRST AMENDED COMPLAINT FOR DAMAGES
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                        EXHIBIT 1



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                         Invoice #DPApreEspys*/ CAVIPUR

    Company participating "sponsor":
    Cavipur

    Date: July15th and 16~, 2019

    Location: LUXE HOTEL ON SUNSET

    Services provided by DPA:

    PR of Cavipur during the DPA pre ESPYs gift suite, press and celebrities product
    placement.

           Entitles Sponsor to have 2 representatives interacted one-on-one with celebrity
           guests
           You will have access to speak live on national or international N, if N is
           confirmed
           Your company will be mentioned in the pre and post press.
           Your products featured in the retreat: your representative will personally
           introduce product lines, receive feedback and allow each celebrity to select their
           items.
           Professional photos with products in hands of celebrities.
           Space to do reading and expose your products
           Will work in coordination with your PR department.
            In-house PR's staff to manage press, key media and escort celebrities
           Product mentioned in the press release and invitation/program given to each
           celebrity.
           Your company logo on guest invitations.
           CDs or links of photos taken by professionals of your space and the event at end
           of event(maximum 2/3 days after end of event).
           Your signage in the Suite.
           Invitation to this retreat will be sent to all key publicists, stylists and major A-list
           celebrities' presenters and nominees.
           Inclusion in 3DPA social medias such as Pinterest board, Facebook company
           page, and daily Instagram and daily Twitters




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    Services expected from SPONSOR:

    SPONSOR agrees to provide enough products at no cost to DPA to be offered to
    celebrities during event

    Fee: Reduced fee of US $4,000 (four thousands) to be by April 21St, 2019(as a
    "package "with Cannes gift suite)
    SPONSOR agrees to not discuss the terms of this agreement with any outside party.
    YOUR company is responsible for ALL bank fees.

    SPONSOR is responsible for the shipping and customs fees of your products to the
    Carlton Hotel in Cannes

    A late fee of5% will be charged if one of the payments is late of5 days or more.

    This fee is NON-REFUNDABLE in case of SPONSOR's cancellation


    Signatur                    l~
    Name of Representative: GABRIELLE

    Company's Name: CAVI PUR LLC

    Company's Address 16699 Collins Ave Sunny Isles Beach, FL 33160


    Today's Date: MAY 2, 2019




    Bank infos
    SWIFT: CITIUS33
     - name on account: Nathalie Dubois
    Account number:42022795720
    Citibank Branch/ Agence: Citibank 4375 Glencoe Ave, Marina
    Del Rey, CA 90292
    Intermediary bank/ Banque intermediaire: 0210-0008-9
    Routing number: 3211-7118-4


    Please ensure you have also read thoroughly the Rules to our gift suite. Should you
    break any of these rules, you will be responsible fora $500 Compensation fee.
    We also want to add that you are responsible of any damages caused to the room or
    the hotel , by your company or your company's employees

    INITIALS:




                                                                                          074
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                      Invoice #DPACannes-17561 */ Cavipur

    Company participating "sponsor":
    Cavipur

    Date: May 14 to 23, 2019(14 being set up)

    Location: Carlton Hotel, Cannes

    Services provided by DPA:

    PR of Cavipur during the DPA Cannes gift suite, during the Festival, press and
    celebrities product placement.

           Entitles Sponsor to have 2 representatives interacted one-on-one with celebrity
           guests
           You will have access to speak live on national or international N, if TV is
           confirmed
           Your company will be mentioned in the pre and post press.
           Your products featured in the retreat: your representative will personally
           introduce product lines, receive feedback and allow each celebrity to select their
           items.
           Professional photos with products in hands of celebrities.
           Space to expose your products,(table and table cloth)
           Will work in coordination with your PR department.
            In-house PR's staff to manage press, key media and escort celebrities
           Product mentioned in the press release and invitation/program given to each
           celebrity.
           Your company logo on guest invitations.
           CDs or links of photos taken by professionals of your space and the event at end
           of event(maximum 2/3 days after end of event).
           Your signage in the Suite.
           I nvitation to this retreat will be sent to all key publicists, stylists and major A-list
           celebrities' presenters and nominees.
           Inclusion in 3DPA social medics such as Pinterest board, Facebook company
           page, and daily Instagram and daily Twitters




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    Services expected from SPONSOR:

    SPONSOR agrees to provide enough products(250 minimum)at no cost to DPA to be
    offered to celebrities during event

    Fee: Reduced fee of 8000 dollars (eight thousands dollars) to be done before April 21 S~
    2019(rate working as a "package "with the pre ESPYs suite)

    SPONSOR agrees to not discuss the terms of this agreement with any outside party.
    YOUR company is responsible for ALL bank fees.

    SPONSOR is responsible for the shipping and customs fees of your products to the
    Carlton Hotel in Cannes

     A late fee of5% will be charged if one of the payments is late of5 days or more.

     This fee is NON-REFUNDABLE in case of SPONSOR's cancellation


    Sig            ~~~~11~ J
     Name of Representative:      Gabrielle Shoykhet

     Company's Name: Cavipur LLC

     Company's Address: 16699 Collins Ave Sunny Isles Beach, FL 33160

     Today's Date: 4/22/19




     Bank infos
     SWIFT: CITIUS33
       name on account: Nathalie Dubois
     Account number:42022795720
     Citibank Branch/ Agence: Citibank 4375 Glencoe Ave, Marina Del Rey, CA
     90292
     Intermediary bank/ Banque intermediaire: 0210-0008-9
     Routing number: 3211-7118-4


     Please ensure you have also read thoroughly the Rules to our gift suite. Should you
     break any of these rules, you will be responsible fora $500 Compensation fee.
     We also want to add that you are responsible of any damages caused to the room or
     the hotel , by your company or your company's employees

     INITIALS:




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                        EXHIBIT H
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                       1
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                       2     AMANPREET KAUR (SBN 271782)
                             MAZINA LAW
                       3     10866 Wilshire Blvd., 4th Floor
                             Los Angeles, CA 90024
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                             CAVI PUR LLC, ANNA SHOYKHET,
                      7      GABRIELLE SHOYKHET

                       8                                 SUPERIOR COURT FOR THE STATE OF CALIFORNIA
                      9                               COUNTY OF LOS ANGELES,NORTH VALLEY DISTRICT
                     10
                     11
                             CAVI PUR LLC, ANNA SHOYKHET,                                               Case No.: 19SMCV01898
                     12
                             GABRIELLE SHOYKHET,                                                              PROOF OF SERVICE
                     13                             Plaintiffs,

                     14                 vs.

                     15      NATHALIE DUBOIS,DUBOIS PELIN
                             ASSOCIATES GROUP,and DOES 1 through
                     16      10,
                     17                                                    Defendants.
                     18
                     19
                    20
                                        I,Jorge Bueso, declare:
                    21
                    22                  I am over the age of 18 years and not a party to the within cause. My business address is
                    23       100 Pine street, Suite 1250, San Francisco, CA 94111. On May 29,2020,I served the following
                    24       documents(s) by the method indicated below:
                    25
                    26                  FIRST AMENDED COMPLAINT
                    27
                    28



                                                                       FIRST AMENDED COMPLAINT FOR DAMAGES
                                                                                                                                                             ~7g
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     1                                       PROOF OF SERVICE

    2
         Re:    CaviPur LLC v. Dubois., Case No. 19SMCV01898
    3           I,Jorge Bueso, declare:
    4        I am over the age of 18 years and not a party to the within cause. My business address is
      100 Pine street, Suite 1250, San Francisco, CA 94111. On May 29, 2020, I served the following
    5 documents(s) by the method indicated below:

    6           FIRST AMENDED COMPLAINT

    7

    8 [X](By Mail) By causing each such envelope to be served by depositing same, with postage
      thereon fully prepaced, with the United States Postal Service in the ordinary course of business at
    9 San Francisco, California. I am readily familiaz with the business' practice for collection and
      processing of correspondence for mailing with the United State Postal Service.
   10 [X~ (By Electronic Mail) By causing each such document to be delivered by electronic service
       to individual emails set forth below, as agreed by the parties.
   11
      [] By Facsimile Transmission) By causing each such document to be served by facsimile
   12 transmission to the fax numbers)set forth below.

   13          NATHALIE DUBOIS                           Email: nathab@me.com
               Pro per defendant                         nathalied@dpagroup.org
   14
               Marina Del Rey
   15          13428 Maxella Ave., 274
               Marina del Rey, CA 90292
   16

   17 I declare under penalty of perjury that the foregoing is true and correct and that this declazation
      was executed on May 29,2020 at Fairfax, CA.
   18

   19
                                                          Jorge Bueso
   20

   21

   22

   23

   24

   25

   26

   27

   28

                                                                                               079
                                              PROOF OF SERVICE
